Exhibit A
CORRECTED
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            Plaintiffs George Cohen, David Moss, and Roxanne Xenakis (“Plaintiffs”), individually, and on
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     behalf of all others similarly situated, by Plaintiffs’ undersigned attorneys, for Plaintiffs’ Complaint
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     against Defendants, alleges the following based upon personal knowledge as to Plaintiffs and Plaintiffs’
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     own acts, and upon information and belief as to all other matters, based on the investigation conducted by
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     and through Plaintiffs’ attorneys, which included, among other things, a review of Sunrun Inc. (“Sunrun”
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     or the “Company”) press releases, Securities and Exchange Commission (“SEC”) filings, analyst and
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     media reports, and other commentary, analysis, and information concerning Sunrun and the industry
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     within which it operates. Plaintiffs’ investigation into the matters alleged herein is continuing and many
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     relevant facts are known only to, or are exclusively within the custody and control of, the Defendants.
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     Plaintiffs believe that substantial additional evidentiary support will exist for the allegations set forth
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     herein after a reasonable opportunity for formal discovery.
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                                NATURE AND SUMMARY OF THE ACTION
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            1.      Plaintiffs bring this action under §§11, 12(a)(2), and 15 of the Securities Act of 1933 (the
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     “Securities Act”) against: (1) Sunrun; (2) certain of the Company’s senior executives and directors
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     (collectively, “Defendants”) who signed the Registration Statement (as defined below) on or around
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     August 5, 2015, for Sunrun’s Initial Public Offering (the “IPO” or “Offering”); and (4) each of the
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     underwriters of the Offering (collectively, “Defendants”).
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            2.      The Registration Statement contained materially incorrect or misleading statements and/or
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     omitted material information that was required to be disclosed. Defendants are each strictly liable for
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     such misstatements and omissions and are so liable in their capacities as signers of the Registration
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     Statement and/or as an issuer, statutory seller, and/or offerors of the shares sold pursuant to the Offering.
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     For all of the claims stated herein, Plaintiffs expressly disclaim any allegation that could be construed as
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     alleging fraud or intentional or reckless misconduct.
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            3.      Sunrun engages in the design, development, installation sale, ownership, and maintenance
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     of residential solar energy systems in the United States. The Company markets and sells its products
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     through direct channels, partner channels, mass media, digital media, canvassing, referral, retail, and field
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     marketing.
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                                           CLASS ACTION COMPLAINT
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            4.      In the IPO, the Company and the Defendants sold 17.9 million shares of common stock at
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     an offering price of $14.00 per share, representing gross proceeds of $251 million. The Company’s
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     common stock is listed on the NASDAQ stock exchange under the ticker symbol “RUN.”
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            5.      Plaintiffs allege that the Registration Statement (and Prospectus incorporated therein)
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     contained materially incorrect or misleading statements, and/or omitted material information that was
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     required to be disclosed. Defendants are each strictly liable for such misstatements and omissions
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     therefrom (subject only, in the case of the Individual and Underwriter Defendants, to their ability to
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     establish a “due diligence” affirmative defense), and are so liable in their capacities as signers of the
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     Registration Statement and/or as an issuer, statutory seller, offeror, and/or underwriter of the over 17.9
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     million Sunrun shares sold pursuant to the Offering. For all of the claims stated herein, Plaintiffs expressly
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     disclaim any allegation that could be construed as alleging fraud or intentional or reckless misconduct.
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            6.      Furthermore, because this case involves a Registration Statement, Defendants also had an
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     independent, affirmative duty to provide adequate disclosures about adverse conditions, risks, and
14
     uncertainties. See Item 303 of SEC Reg. S-K, 17 C.F.R. §229.303(a)(3)(ii). Thus, Defendants had an
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     affirmative duty to ensure that the Registration Statement and the materials incorporated therein disclosed
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     material trends and uncertainties that they knew or should have reasonably expected would have a
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     materially adverse impact on Sunrun’s business. Defendants failed to fulfill this obligation.
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            7.      Unbeknownst to investors, however, the Registration Statement’s representations were
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     materially inaccurate, misleading, and/or incomplete because they failed to disclose, inter alia, that the
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     Company was employing questionable sales tactics and was extremely overleveraged, particularly, using
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     highly complex and illiquid financial instruments, and as such, its growth rate was not sustainable.
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            8.      Accordingly, the price of Sunrun common stock was artificially and materially inflated at
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     the time of the Offering.
24
            9.      Unfortunately for investors who purchased the Company’s shares pursuant or traceable to
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     the Offering, however, the truth concerning the nature and extent of the problems facing the Company did
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     not begin to emerge until after the Offering.
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                                            CLASS ACTION COMPLAINT
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            10.     The truth first started to emerge in late October 2015, when, among other things,
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     SeekingAlpha issued a report entitled Sunrun – Financial Weapon Of Mass Destruction In The Solar
 3
     Industry noting that Sunrun’s high debt leverage and dependence on complex financial instruments for
 4
     growth, stating that “[t]o address the company’s long term interest rate risk, Sunrun started in 2015 to use
 5
     interest rate swap derivative to hedge variable interest payment due on its syndicate loans. But the
 6
     syndicated term loan is only a small portion of Sunrun’s overall debt and financial hedges are expensive
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     and create counterparty risk exposures.” In addition, the article stated the following regarding Sunrun’s
 8
     questionable business practices:
 9
            It was reported that Sunrun and its contractors use aggressive sales tactics to lure large
10          amount of customers into 20-year energy purchase contracts. In the business review
            website Yelp, customers have complained about Sunrun’s use of questionable business
11          practices including providing misleading information, hidden fees, unilateral changes to
            contracts and poor customer service.
12
            11.     On February 10, 2016, the Company reported weaker-than-expected 4Q 2015 results,
13
     reporting lower-than-expected 272 megawatts (“MW”) installations for the quarter, while guiding to 1Q16
14
     installations of 180 MW.
15
            12.     On the same day, Barclays analyst Jon Windham downgraded the rating of Sunrun noting
16
     the slowdown in installation and the rising cost of funding. Windham also noted that Sunrun’s guidance
17
     was not only lower than the estimate of 214 MW, it was also below the Company’s FY2016 guidance of
18
     40% year-on-year installation growth.
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            13.     On March 11, 2016, Sunrun reported $99.6 million and a 15-cent loss per share for Q4.
20
     Sales rose 66% and losses shrunk compared to the year-earlier quarter. Notably, the Company plans to
21
     install 285 MW of solar systems this year, a 40% increase over 2015, however, that is down from the 76%
22
     growth in installations last year.
23
            14.     On the same day, an Investor’s Business Daily article entitled Sunrun Offers ‘Draconian’
24
     2016 View, Won’t Gouge SolarCity Market reported that “analysts worry about . . . Sunrun’s narrowing
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     access to capital, given the market’s volatility.” The article also noted that “[f]or 2016, Sunrun sees 40%
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     growth in solar installations vs. Credit Suisse views for 78%, analyst Patrick Jobin wrote in a research
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                                           CLASS ACTION COMPLAINT
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     report.” Jobin further noted that it’s a rather “draconian scenario, considering the (Investment Tax Credit)
 2
     has been de facto extended through 2023 and most net-metering decisions are in favor of rooftop solar.”
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               15.   On this news, shares of Sunrun common stock fell from $7.15 per share on March 10, 2016
 4
     to $6.36 per share on March 31, 2016; a drop of over 11%.
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               16.   In response to those disclosures, the Company’s shares fell sharply, falling from the $14.00
 6
     issuing price to a closing price on April 19, 2016 of $7.02; a staggering drop of 49%.
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               17.   By this action, Plaintiffs, on behalf of themselves and the other Class members who also
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     acquired the Company’s shares pursuant or traceable to the Offering, now seek to obtain a recovery for
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     the damages they have suffered as a result of Defendants’ violations of the Securities Act, as alleged
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     herein.
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                                           JURISDICTION AND VENUE
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               18.   This Court has subject matter jurisdiction over the causes of action asserted herein pursuant
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     to the California Constitution, Article VI, §10, because this case is a cause not given by statute to other trial
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     courts. This action is not removable. The claims alleged herein arise under §§11, 12(a)(2), and 15 of the
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     Securities Act. See 15 U.S.C. §§77k, 77l(a)(2), and 77o. Jurisdiction is conferred by §22 of the Securities
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     Act and venue is proper pursuant to §22 of the Securities Act. See 15 U.S.C. §77v. Section 22(a) of the
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     Securities Act explicitly states that “[e]xcept as provided in section 16(c), no case arising under this title
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     and brought in any State court of competent jurisdiction shall be removed to any court of the United States.”
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     Id. Section 16(c) refers to “covered class actions,” which are defined as lawsuits brought as class actions
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     or brought on behalf of more than 50 persons asserting claims under state or common law. See 15 U.S.C.
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     §77p(c) and (f)(2). This action is asserting federal law claims and, thus, does not fall within the definition
22
     of “covered class action” under Securities Act §16(b)-(c) and therefore, is not removable to federal court.
23
     See Luther v. Countrywide Fin. Corp., 195 Cal. App. 4th 789, 792 (2011) (“The Federal Securities Act of
24
     1933 . . . as amended by the Securities Litigation Uniform Standards Act. . . provides for concurrent
25
     jurisdiction for cases asserting claims under the 1933 Act. . . .”); Luther v. Countrywide Home Loans
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     Servicing LP, 533 F.3d 1031, 1032 (9th Cir. 2008) (“Section 22(a) of the Securities Act of 1933 creates
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                                             CLASS ACTION COMPLAINT
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     concurrent jurisdiction in state and federal courts over claims arising under the Act. It also specifically
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     provides that such claims brought in state court are not subject to removal to federal court.”).
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            19.     This Court has personal jurisdiction over each of the Defendants named herein because they
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     conduct business, were citizens of, and/or took steps to prepare the Offering in California. Additionally,
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     Sunrun is headquartered within this County, many of the Individual Defendants are located within this
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     County and the statements complained of herein were disseminated into this State.
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            20.     Venue is proper in this Court because Defendants’ wrongful acts arose in and emanated
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     from, in part, this County. The violations of law complained of herein occurred in this County, including
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     the dissemination of materially misleading statements into this County, the purchase of the Company’s
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     common stock by members of the class who reside in this County and the sale of the Company’s common
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     stock by certain of the Underwriter Defendants (as defined below) in this County. In addition, certain of
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     the Defendants live, are headquartered, and/or maintain offices of operations in this County.
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                                                      PARTIES
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     A.     Plaintiffs
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            21.     Plaintiff George Cohen purchased shares of the Company’s common stock that were issued
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     pursuant and traceable to the Registration Statement and the Offering, and was damaged thereby.
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            22.     Plaintiff David Moss purchased shares of the Company’s common stock that were issued
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     pursuant and traceable to the Registration Statement and the Offering, and was damaged thereby.
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            23.     Plaintiff Roxanne Xenakis purchased shares of the Company’s common stock that were
20
     issued pursuant and traceable to the Registration Statement and the Offering, and was damaged thereby.
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     B.     Defendants
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            24.     Defendant Sunrun engages in the design, development, installation, sale, ownership, and
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     maintenance of residential solar energy systems in the United States. It also sells solar leads. The
24
     company markets and sells its products through direct channels, partner channels, mass media, digital
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     media, canvassing, referral, retail, and field marketing. The Company conducted the Offering for its
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     common stock on or around August 5, 2015. Sunrun’s shares are listed on the NASDAQ under the ticker
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     symbol “RUN.” Sunrun was founded in 2007 and is headquartered in San Francisco, California.
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                                           CLASS ACTION COMPLAINT
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            25.     Defendant Lynn Jurich (“Jurich”) was, at the time of the Offering, Sunrun’s Chief
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     Executive Officer and director of the Company. Defendant Jurich signed, or authorized the signing of,
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     the false and misleading Registration Statement and Prospectus.
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            26.     Defendant Robert Komin (“Komin”) was, at the time of the Offering, Sunrun’s Chief
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     Financial Officer (“CFO”).     Defendant Komin signed, or authorized the signing of, the false and
 6
     misleading Registration Statement and Prospectus.
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            27.     Defendant Edward Fenster (“Fenster”) was, at the time of the Offering, Chairman of
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     Sunrun’s Board of Directors (“BOD”) and director of the Company. Defendant Fenster signed, or
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     authorized the signing of, the false and misleading Registration Statement and Prospectus.
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            28.     Defendant Jameson McJunkin (“McJunkin”) was, at the time of the Offering, a member of
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     Sunrun’s BOD. Defendant McJunkin signed, or authorized the signing of, the false and misleading
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     Registration Statement and Prospectus.
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            29.     Defendant Gerald Risk (“Risk”) was, at the time of the Offering, a member of Sunrun’s
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     BOD. Defendant Risk signed, or authorized the signing of, the false and misleading Registration
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     Statement and Prospectus.
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            30.     Defendant Steve Vassallo (“Vassallo”) was, at the time of the Offering, a member of
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     Sunrun’s BOD. Defendant Vassallo signed, or authorized the signing of, the false and misleading
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     Registration Statement and Prospectus.
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            31.     Defendant Richard Wong (“Wong”) was, at the time of the Offering, a member of Sunrun’s
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     BOD. Defendant Wong signed, or authorized the signing of, the false and misleading Registration
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     Statement and Prospectus.
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            32.     Defendants Jurich, Komin, Fenster, McJunkin, Risk, Vassallo, and Wong are collectively
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     referred to herein as the “Individual Defendants.”
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            33.     The Individual Defendants each participated in the preparation of and signed (or authorized
25
     the signing of) the Registration Statement and Prospectus.        Defendant Sunrun and the Individual
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     Defendants who signed (or authorized the signing of) the Registration Statement are strictly liable for the
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     materially untrue and misleading statements incorporated into the Registration Statement. The Individual
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                                           CLASS ACTION COMPLAINT
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     Defendants, because of their positions with the Company, possessed the power and authority to control
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     the contents of Sunrun’s reports to the SEC, press releases, and presentations to securities analysts, money
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     and portfolio managers, and institutional investors; i.e., the market.
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            34.     Defendant Credit Suisse Securities (USA) LLC (“Credit Suisse”) was an underwriter for
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     the IPO Offering. In the Offering, Credit Suisse agreed to purchase 4,296,000 Sunrun shares. Sunrun
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     acted as a joint lead book-running manager for the Offering. This Defendant did business within this
 7
     District in connection with the Offering.
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            35.     Defendant Goldman, Sachs & Co. (“Goldman Sachs”) was an underwriter for the IPO
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     Offering. In the Offering, Goldman Sachs agreed to purchase 4,296,000 Sunrun shares. Goldman Sachs
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     acted as a joint lead book-running manager for the Offering. This Defendant did business within this
11
     District in connection with the Offering.
12
            36.     Defendant Morgan Stanley & Co. LLC (“Morgan Stanley”) was an underwriter for the IPO
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     Offering. In the Offering, Morgan Stanley agreed to purchase 4,296,000 Sunrun shares. Morgan Stanley
14
     acted as a joint lead book-running manager for the Offering. This Defendant did business within this
15
     District in connection with the Offering.
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            37.     Defendant Merrill Lynch, Pierce, Fenner & Smith, Incorporated (“Merrill Lynch”) was an
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     underwriter for the IPO Offering. In the Offering, Merrill Lynch agreed to purchase 2,327,000 Sunrun
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     shares. Merrill Lynch acted as a joint book-running manager for the Offering. This Defendant did
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     business within this District in connection with the Offering.
20
            38.     Defendant RBC Capital Markets, LLC (“RBC”) was an underwriter for the IPO Offering.
21
     In the Offering, RBC agreed to purchase 1,969,000 Sunrun shares. RBC acted as a joint book-running
22
     manager for the Offering. This Defendant did business within this District in connection with the Offering.
23
            39.     Defendant KeyBanc Capital Markets Inc. (“KeyBanc”) was an underwriter for the IPO
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     Offering. In the Offering, KeyBanc agreed to purchase 447,500 Sunrun shares. KeyBanc acted as a co-
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     manager for the Offering. This Defendant did business within this District in connection with the Offering.
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            40.     Defendant SunTrust Robinson Humphrey, Inc. (“SunTrust”) was an underwriter for the
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     IPO Offering. In the Offering, SunTrust agreed to purchase 268,500 Sunrun shares. SunTrust acted as a
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                                           CLASS ACTION COMPLAINT
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     co-manager for the Offering. This Defendant did business within this District in connection with the
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     Offering.
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            41.     Defendants Credit Suisse, Goldman Sachs, Morgan Stanley, Merrill Lynch, RBC,
 4
     KeyBanc, and SunTrust are referred to collectively as the “Underwriter Defendants.”
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            42.     Pursuant to the Securities Act, the Underwriter Defendants are liable for the false and
 6
     misleading statements in the Offering’s Registration Statement and Prospectus.            The Underwriter
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     Defendants’ failure to conduct adequate due diligence investigations was a substantial factor leading to
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     the harm complained of herein.
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            43.     The Underwriter Defendants are primarily investment banking houses which specialize,
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     inter alia, in underwriting public offerings of securities. As the underwriters of the Offering, in addition
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     to their lucrative underwriting fees, they also received an option to purchase up to 2,685,000 additional
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     shares of common stock at the public offering price, less underwriting discounts and commissions.
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            44.     The Underwriter Defendants determined that, in return for substantial fees and an option
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     to purchase up to 2,685,000 additional shares, they were willing to underwrite and market Sunrun’s
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     common stock in the Offering. The Underwriter Defendants met with potential investors and presented
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     highly favorable but materially incorrect and/or materially misleading information about the Company,
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     its business, products, plans, and financial prospects, and/or omitted to disclose material information
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     required to be disclosed under the federal securities laws and applicable regulations promulgated
19
     thereunder.
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            45.     Representatives of the Underwriter Defendants also assisted Sunrun and the Individual
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     Defendants in planning the Offering. They also purported to conduct an adequate and reasonable
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     investigation into the business, operations, products, and plans of Sunrun, an undertaking known as a “due
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     diligence” investigation. During the course of their “due diligence,” the Underwriter Defendants had
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     continual access to confidential corporate information concerning Sunrun’s business, financial condition,
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     products, plans, and prospects.
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            46.     In addition to having access to internal Sunrun corporate documents, the Underwriter
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     Defendants and/or their agents, including their counsel, had access to Sunrun’s lawyers, management,
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                                           CLASS ACTION COMPLAINT
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     directors, and top executives to determine: (i) the strategy to best accomplish the Offering; (ii) the terms
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     of the Offering, including the price at which Sunrun’s common stock would be sold; (iii) the language to
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     be used in the Registration Statement; (iv) what disclosures about Sunrun would be made in the
 4
     Registration Statement; and (v) what responses would be made to the SEC in connection with its review
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     of the Registration Statement. As a result of those constant contacts and communications between the
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     Underwriter Defendants’ representatives and Sunrun’s management and top executives, at a minimum the
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     Underwriter Defendants should have known of Sunrun’s undisclosed existing problems and plans, and the
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     material misstatements and omissions contained in the Registration Statement as detailed herein.
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            47.     The Underwriter Defendants caused the Registration Statement to be filed with the SEC
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     and to be declared effective in connection with offers and sales of Sunrun shares pursuant and/or traceable
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     to the Offering and relevant offering materials, including to Plaintiff and the Class.
12
                                        SUBSTANTIVE ALLEGATIONS
13
     I.     THE OFFERING AND THE COMPANY’S MATERIALLY MISLEADING AND
14          INCOMPLETE REGISTRATION STATEMENT AND PROSPECTUS

15          48.     On or around August 5, 2015, Sunrun conducted the Offering, selling 17.9 million shares

16 of Sunrun common stock at a price to the public of $14.00 per share. Credit Suisse, Goldman Sachs, and

17 Morgan Stanley acted as lead book-running managers for the Offering. Merrill Lynch and RBC acted as

18 book-running managers and KeyBanc and SunTrust acted as co-managers for the Offering.

19          49.     The Registration Statement was negligently prepared and, as a result, contained untrue

20 statements of material facts or omitted to state the facts necessary to make the statements not misleading,

21 and was not prepared in accordance with the rules and regulations governing its preparation. Given the

22 Individual Defendants’ interest is ensuring a favorably high offering price, it is hardly surprising that the

23 Company’s Registration Statement and Prospectus incorporated therein again presented a highly positive

24 picture of the Company’s business, performance, prospects, and products, while omitting crucial realities.

25          50.     The Registration Statement stated the following regarding the Company’s growth:

26          We are an innovator in bringing scalable new channels for customer acquisition and solar
            installation to market. Historically, our primary focus towards these efforts was in building
27          out a leading, diversified partner network of solar sales and installation companies. These
            partners include local solar installation contractors, sales and lead generation companies
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                                                          9
                                           CLASS ACTION COMPLAINT
 1          and large retailers that help us acquire customers and build solar energy systems, while we
            own and manage the systems and the 20-year customer experience. The ecosystem we
 2          built provides broad reach, positioning us for sustained and rapid growth through a capital
 3          efficient business model. Our network of partners continues to thrive and expand today.

 4                                                     ***
            We have experienced substantial growth in our business and operations since our inception
 5          in 2007. As of March 31, 2015, we operated the second largest fleet of residential solar
            energy systems in the United States, with approximately 79,000 customers across 13 states.
 6          We have deployed an aggregate of 430 megawatts (“MW”) as of March 31, 2015. As of
 7          March 31, 2015, our estimated nominal contracted payments remaining was approximately
            $1.71 billion, and our estimated retained value was $1.1 billion. For the quarter ended
 8          March 31, 2015, the average size of the solar energy systems we installed was over 7
            kilowatts in production capacity. Our growth has occurred despite declining incentives.
 9          For example, California, our largest market, has grown more than 10x between 2008 and
            2014 even as proceeds from California and federal incentives have declined by
10          approximately $3.00 per watt.
11
                                                       ***
12          Our ability to connect specialized sales and installation firms on a single platform, which
            we license to our solar partners at no cost, allows us to enjoy the benefits of vertical
13          integration without the additional fixed cost structure. This creates margin opportunities,
            system efficiencies and benefits from network effects in matching these ecosystem
14
            participants. In 2014, we delivered customer growth of over 50% compared to 2013
15          through our solar partnerships.
            51.    The Registration Statement states the following regarding its customer agreements and its
16
     dependence on a low cost of capital:
17
            Our customer agreements provide for recurring customer payments, typically over 20
18          years, and the related solar energy systems are generally eligible for ITCs, accelerated tax
19          depreciation and other government or utility incentives. Our financing strategy is to
            monetize these benefits at a low weighted-average cost of capital. This low cost of capital
20          enables us to offer attractive pricing to our customers for the energy generated by the solar
            energy system on their homes. Historically, we have monetized a portion of the value
21          created by our customer agreements and the related solar energy systems through
            investment funds. These assets are attractive to fund investors due to the long-term,
22
            recurring nature of the cash flows generated by our customer agreements, the high credit
23          scores of our customers, the fact that energy is a non-discretionary good and our low loss
            rates. As of March 31, 2015, our average customer under a lease or PPA had a FICO score
24          of over 760 and we had collected approximately 99% of cumulative billings due from
            customers. In addition, fund investors can receive attractive after-tax returns from our
25          investment funds due to their ability to utilize ITCs, accelerated depreciation and certain
            government or utility incentives associated with the funds’ ownership of solar energy
26
            systems.
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                                            CLASS ACTION COMPLAINT
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            52.     Unbeknownst to investors or the members of the Class, however, at the time of the
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     Offering, Defendants failed to disclose that the Company was employing questionable sales tactics and
 3
     was extremely overleveraged, particularly, using highly complex and illiquid financial instruments, and
 4
     as such, its growth rate was not sustainable.
 5
     III.   THE TRUTH BEGINS TO EMERGE
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            53.     On October 23, 2015, a SeekingAlpha article entitled Sunrun - Financial Weapon Of Mass
 7
     Destruction In The Solar Industry reported the following:
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            I view Sunrun’s use of no-down payment solar lease to lure large amount of customers, its
 9          high debt leverage using highly complex and illiquid financial instrument, its failure to
            deliver returns above its cost of capital and the interest rate/solar policy risks as the main
10          reasons for my negative view on the stock. I see this solar leasing company a financial
            weapon of mass destruction in the solar industry.
11
            54.     The article further noted Sunrun’s high debt leverage and dependence on complex financial
12
     instruments for growth, stating that “[t]o address the company’s long term interest rate risk, Sunrun started
13
     in 2015 to use interest rate swap derivative to hedge variable interest payment due on its syndicate loans.
14
     But the syndicated term loan is only a small portion of Sunrun’s overall debt and financial hedges are
15
     expensive and create counterparty risk exposures.” In addition, the article stated the following regarding
16
     the Company’s use of complex financial instruments:
17
            As a solar panel leasing company, Sunrun borrows capital for the short-term in order to
18          lend capital over the long-term (solar lease are 20 years long). Therefore Sunrun faces
            significant long term interest rate risk as the short term loan is typically floating rate based
19          on LIBOR + 3-5% while Sunrun’s lease income is mostly fixed (2.2% annual escalator)
            over the 20 year term. Therefore, Sunrun faces greater long term credit and interest rate
20
            risk than a bank does. Like a bank, Sunrun extends credit to retail customers. Sunrun
21          customers weighted average credit score is 759 (range 572-844). Unlike a bank, Sunrun
            writes 20-year fixed rate lease while banks mostly write short term, fixed-rate loans.
22          Today, bank passes most of its long-term, 30-year mortgage loan to the US government
            (through Fannie Mae). To address the company’s long term interest rate risk, Sunrun
23          started in 2015 to use interest rate swap derivative to hedge variable interest payment due
            on its syndicate loans. But the syndicated term loan is only a small portion of Sunrun’s
24
            overall debt and financial hedges are expensive and create counterparty risk exposures.
25          For the majority of the fixed-rate term loan outstanding, Sunrun still faces significant re-
            finance risk as these loans mature and require renewal.
26
            55.     Further, the article stated the following regarding Sunrun’s questionable business practices:
27
            It was reported that Sunrun and its contractors use aggressive sales tactics to lure large
28          amount of customers into 20-year energy purchase contracts. In the business review
                                                       11
                                           CLASS ACTION COMPLAINT
 1          website Yelp, customers have complained about Sunrun’s use of questionable business
            practices including providing misleading information, hidden fees, unilateral changes to
 2          contracts and poor customer service.
 3          56.    On February 10, 2016, the Company reported weaker-than-expected 4Q 2015 results,
 4 reporting lower-than-expected 272 MW installations for the quarter, while guiding to 1Q16 installations

 5 of 180 MW.

 6          57.    Barclays analyst Jon Windham downgraded the rating of Sunrun noting the slowdown in
 7 installation and the rising cost of funding. Windham also noted that Sunrun’s guidance was not only lower

 8 than the estimate of 214 MW, it was also below the Company’s FY2016 guidance of 40% year-on-year

 9 installation growth.

10          58.    On March 11, 2016, Sunrun reported $99.6 million and a 15-cent loss per share for Q4.
11 Sales rose 66% and losses shrunk compared to the year-earlier quarter. Notably, the Company plans to

12 install 285 MW of solar systems this year, a 40% increase over 2015, however, that is down from the 76%

13 growth in installations last year.

14          59.    On the same day, an Investor’s Business Daily article entitled Sunrun Offers ‘Draconian’
15 2016 View, Won’t Gouge SolarCity Market reported that “analysts worry about . . . Sunrun’s narrowing

16 access to capital, given the market’s volatility.” The article also noted that “[f]or 2016, Sunrun sees 40%

17 growth in solar installations vs. Credit Suisse views for 78%, analyst Patrick Jobin wrote in a research

18 report.” Jobin further noted that it’s a rather “draconian scenario, considering the (Investment Tax Credit)

19 has been de facto extended through 2023 and most net-metering decisions are in favor of rooftop solar.”

20          60.    On this news, shares of Sunrun common stock fell from $7.15 per share on March 10, 2016
21 to $6.36 per share on March 31, 2016; a drop of over 11%.

22          61.    In response to those disclosures, the Company’s shares fell sharply, falling from the $14.00
23 issuing price to a closing price on April 19, 2016 of $7.02; a staggering drop of 49%.

24                            PLAINTIFFS’ CLASS ACTION ALLEGATIONS
25          62.    Plaintiffs bring this action as a class action on behalf of a Class, consisting of all those who
26 purchased the Company’s preferred stock pursuant or traceable to the Company’s Offering and

27 Registration Statement and who were damaged thereby (the “Class”). Excluded from the Class are

28
                                                         12
                                          CLASS ACTION COMPLAINT
 1
     Defendants; the officers and directors of the Company at all relevant times; members of their immediate
 2
     families and their legal representatives, heirs, successors, or assigns; and any entity in which Defendants
 3
     have or had a controlling interest.
 4
            63.     The members of the Class are so numerous that joinder of all members is impracticable.
 5
     While the exact number of Class members is unknown to Plaintiffs at this time and can only be ascertained
 6
     through appropriate discovery, Plaintiffs believe that there are thousands of members of the proposed
 7
     Class. The members of the proposed Class may be identified from records maintained by the Company
 8
     or its transfer agent, and may be notified of the pendency of this action by mail, using customary forms of
 9
     notice that are commonly used in securities class actions.
10
            64.     Plaintiffs’ claims are typical of the claims of the members of the Class, as all members of
11
     the Class are similarly affected by Defendants’ wrongful conduct.
12
            65.     Plaintiffs will fairly and adequately protect the interests of the members of the Class and
13
     have retained counsel competent and experienced in class and securities litigation.
14
            66.     Common questions of law and fact exist as to all members of the Class and predominate
15
     over any questions solely affecting individual members of the Class. Among the questions of law and fact
16
     common to the Class are:
17
                    a.      whether the federal securities laws were violated by Defendants’ acts as alleged
18                          herein;

19                  b.      whether the Prospectus and Registration Statement contained materially false and
                            misleading statements and omissions; and
20
                    c.      to what extent Plaintiffs and members of the Class have sustained damages and the
21                          proper measure of damages.

22          67.     A class action is superior to all other available methods for the fair and efficient

23 adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

24 damages suffered by individual Class members may be relatively small, the expense and burden of

25 individual litigation make it impossible for members of the Class to individually redress the wrongs done

26 to them. There will be no difficulty in the management of this action as a class action.

27

28
                                                         13
                                           CLASS ACTION COMPLAINT
 1                                               FIRST CLAIM
                                      Violations of §11 of the Securities Act
 2                                           Against All Defendants
 3           68.    Plaintiffs repeat and reallege each and every allegation contained above as if fully set forth
 4 herein.

 5           69.    This Claim is brought pursuant to §11 of the Securities Act, 15 U.S.C. §77k, on behalf of
 6 the Class, against each of the Defendants.

 7           70.    The Registration Statement was inaccurate and misleading, contained untrue statements of
 8 material facts, omitted facts necessary to make the statements made therein not misleading, and omitted

 9 to state material facts required to be stated therein.

10           71.    The Company is the issuer of the securities purchased by Plaintiffs and the Class. As such,
11 the Company is strictly liable for the materially inaccurate statements contained in the Registration

12 Statement and the failure of the Registration Statement to be complete and accurate.

13           72.    The Individual Defendants each signed the Registration Statement. As such, each is strictly
14 liable for the materially inaccurate statements contained in the Registration Statement and the failure of

15 the Registration Statement to be complete and accurate, unless they are able to carry their burden of

16 establishing an affirmative “due diligence” defense. The Individual Defendants each had a duty to make

17 a reasonable and diligent investigation of the truthfulness and accuracy of the statements contained in the

18 Registration Statement, to ensure that they were true and accurate, that there were no omissions of material

19 facts that would make the Registration Statement misleading, and that the document contained all facts

20 required to be stated therein. In the exercise of reasonable care, the Individual Defendants should have

21 known of the material misstatements and omissions contained in the Registration Statement and also

22 should have known of the omissions of material fact necessary to make the statements made therein not

23 misleading. Accordingly, the Individual Defendants are liable to Plaintiffs and the Class.

24           73.    By reasons of the conduct herein alleged, each Defendant violated §11 of the Securities
25 Act.

26           74.    Plaintiffs acquired the Company’s common stock pursuant or traceable to the Registration
27 Statement, and without knowledge of the untruths and/or omissions alleged herein. Plaintiffs sustained

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                                                            14
                                           CLASS ACTION COMPLAINT
 1
     damages, and the price of the Company’s common stock declined substantially due to material
 2
     misstatements in the Registration Statement.
 3
               75.    This claim was brought within one year after the discovery of the untrue statements and
 4
     omissions and within three years of the date of the Offering.
 5
               76.    By virtue of the foregoing, Plaintiffs and the other members of the Class are entitled to
 6
     damages under §11 as measured by the provisions of §11(e), from the Defendants and each of them, jointly
 7
     and severally.
 8
                                                 SECOND CLAIM
 9                                   Violations of §12(a)(2) of the Securities Act
                                               Against All Defendants
10
               77.    Plaintiffs repeat and reallege each and every allegation contained above as if fully set forth
11
     herein.
12
               78.    Defendants were sellers, offerors, and/or solicitors of purchasers of the Company’s
13
     securities offered pursuant to the Offering. Defendants issued, caused to be issued, and signed the
14
     Registration Statement in connection with the Offering. The Registration Statement was used to induce
15
     investors, such as Plaintiffs and the other members of the Class, to purchase the Company’s shares.
16
               79.    The Registration Statement contained untrue statements of material facts, omitted to state
17
     other facts necessary to make the statements made not misleading, and omitted material facts required to
18
     be stated therein. Defendants’ acts of solicitation included participating in the preparation of the false and
19
     misleading Registration Statement.
20
               80.    As set forth more specifically above, the Registration Statement contained untrue
21
     statements of material facts and omitted to state material facts necessary in order to make the statements,
22
     in light of circumstances in which they were made, not misleading.
23
               81.    Plaintiffs and the other Class members did not know, nor could they have known, of the
24
     untruths or omissions contained in the Registration Statement.
25
               82.    The Defendants were obligated to make a reasonable and diligent investigation of the
26
     statements contained in the Registration Statement to ensure that such statements were true and that there
27
     was no omission of material fact required to be stated in order to make the statements contained therein
28
                                                           15
                                             CLASS ACTION COMPLAINT
 1
     not misleading. None of the Defendants made a reasonable investigation or possessed reasonable grounds
 2
     for the belief that the statements contained in the Registration Statement were accurate and complete in
 3
     all material respects. Had they done so, these Defendants could have known of the material misstatements
 4
     and omissions alleged herein.
 5
               83.   This claim was brought within one year after discovery of the untrue statements and
 6
     omissions in the Registration Statement and within three years after the Company’s shares were sold to
 7
     the Class in connection with the Offering.
 8
                                                 THIRD CLAIM
 9                                   For Violations of §15 of the Securities Act
                                        Against the Individual Defendants
10
               84.   Plaintiffs repeat and reallege each and every allegation contained above as if fully set forth
11
     herein.
12
               85.   The Individual Defendants were controlling persons of the Company within the meaning
13
     of §15 of the Securities Act. By reason of their ownership interest in, senior management positions at,
14
     and/or directorships held at the Company, as alleged above, these Defendants invest in, individually and
15
     collectively, had the power to influence, and exercised the same, over the Company to cause it to engage
16
     in the conduct complained of herein. By reason of such conduct, the Individual Defendants are liable
17
     pursuant to §15 of the Securities Act.
18
               86.   By reason of such wrongful conduct, the Individual Defendants are liable pursuant to §15
19
     of the Securities Act. As a direct and proximate result of the wrongful conduct, Class members suffered
20
     damages in connection with their purchases of the Company’s shares.
21
                                              REQUEST FOR RELIEF
22
               WHEREFORE, Plaintiffs pray for judgment as follows:
23

24             A.    Declaring this action to be a proper class action and certifying Plaintiffs as Class

25 representatives;

26             B.    Awarding Plaintiffs and the other members of the Class compensatory damages;
27

28
                                                          16
                                              CLASS ACTION COMPLAINT
 1        Joseph V. Halloran (CA BAR NO. 288617)
          SCOTT+SCOTT, ATTORNEYS AT LAW, LLP
 2        The Chrysler Building
 3        405 Lexington Avenue, 40th Floor
          New York, NY 10174
 4        Telephone: 212-223-6444
          Facsimile: 212-223-6334
 5        jhalloran@scott-scott.com

 6        Attorneys for Plaintiffs George Cohen, David Moss, and
          Roxanne Xenakis
 7

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               18
     CLASS ACTION COMPLAINT
             APPROPRIATE DISPUTE RESOLUTION INFORMATION SHEET

               SUPERIOR COURT OF CALIFORNIA, SAN MATEO COUNTY

In addition to the court provided voluntary and mandatory settlement conferences, this
court has established, in partnership with the community and Bar Association, the Multi-
Option ADR Project. Recognizing that many civil disputes can be resolved without the
time and expense of traditional civil litigation, the San Mateo County Superior Court
encourages the parties in civil cases to explore and pursue the use of Appropriate
Dispute Resolution

WHAT IS APPROPRIATE DISPUTE RESOLUTION?

Appropriate Dispute Resolution (ADR) is the general term applied to a wide variety of
dispute resolution processes which are alternatives to lawsuits. Types of ADR
processes include arbitration, mediation, neutral evaluation, mini-trials, settlement
conferences, private judging, negotiation, and hybrids of these processes. All ADR
processes offer a partial or complete alternative to traditional court litigation for resolving
disputes.

WHAT ARE THE ADVANTAGES OF USING ADR?

ADR can have a number of advantages over traditional court litigation.

•   ADR can save time. Even in a complex case, a dispute can be resolved through
    ADR in a matter of months or weeks, while a lawsuit can take years.

•   ADR can save money. By producing earlier settlements, ADR can save parties and
    courts money that might otherwise be spent on litigation costs (attorney’s fees and
    court expenses).

•   ADR provides more participation. Parties have more opportunity with ADR to
    express their own interests and concerns, while litigation focuses exclusively on the
    parties’ legal rights and responsibilities.

•   ADR provides more control and flexibility. Parties can choose the ADR process
    most appropriate for their particular situation and that will best serve their particular
    needs.

•   ADR can reduce stress and provide greater satisfaction. ADR encourages
    cooperation and communication, while discouraging the adversarial atmosphere
    found in litigation. Surveys of disputants who have gone through ADR have found
    that satisfaction with ADR is generally high, especially among those with extensive
    ADR experience.

Arbitration, Mediation, and Neutral Evaluation

Although there are many different types of ADR processes, the forms most commonly
used to resolve disputes in California State courts are Arbitration, Mediation and Neutral
Evaluation. The Multi-Option ADR Project a partnership of the Court, Bar and
Community offers pre-screened panelists with specialized experience and training in
each of these areas.
Arbitration: An arbitrator hears evidence presented by the parties, makes legal rulings,
determines facts and makes an arbitration award. Arbitration awards may be entered as

Form ADR-CV-8 “Court ADR Information Sheet ADR-CV-8” [Rev. Feb. 2014]
judgments in accordance with the agreement of the parties or, where there is no
agreement, in accordance with California statutes. Arbitrations can be binding or non-
binding, as agreed by the parties in writing.

Mediation: Mediation is a voluntary, informal, confidential process in which the
mediator, a neutral third party, facilitates settlement negotiations. The mediator
improves communication by and among the parties, helps parties clarify facts, identify
legal issues, explore options and arrive at a mutually acceptable resolution of the
dispute.

Neutral Evaluation: Involves presentations to a neutral third party with subject matter
expertise who may render an opinion about the case the strengths and weaknesses of
the positions, the potential verdict regarding liability, and a possible range for damages.

CIVIL ADR PROCEDURES FOR THE SAN MATEO COUNTY SUPERIOR COURT

    •    Upon filing a Complaint, the Plaintiff will receive this information sheet from the
         Superior Court Clerk. Plaintiff is expected to include this information sheet when
         he or she serves the Complaint on the Defendant.

    •    All parties to the dispute may voluntarily agree to take the matter to an ADR
         process. A stipulation is provided here. Parties chose and contact their own ADR
         provider. A Panelist List is available online.

    •    If the parties have not agreed to use an ADR process, an initial Case
         Management Conference (“CMC”) will be scheduled within 120 days of the filing
         of the Complaint. An original and copy of the Case Management Conference
         Statement must be completed and provided to the court clerk no later than
         15 days prior to the scheduled conference. The San Mateo County Superior
         Court Case Management Judges will strongly encourage all parties and their
         counsel to consider and utilize ADR procedures and/or to meet with the ADR
         director and staff where appropriate.

    •    If the parties voluntarily agree to ADR, the parties will be required to sign and file
         a Stipulation and Order to ADR.

    •    A timely filing of a stipulation (at least 10 days prior to the CMC) will cause a
         notice to vacate the CMC. ADR stipulated cases (other than judicial arbitration)
         will be continued for further ADR/Case Management status review in 90 days. If
         the case is resolved through ADR, the status review date may be vacated if the
         court receives a dismissal or judgment. The court may upon review of case
         information suggest to parties an ADR referral to discuss matters related to case
         management, discovery and ADR.

    •    Any ADR Services shall be paid for by the parties pursuant to a separate ADR
         fee agreement. The ADR Director may screen appropriate cases for financial aid
         where a party is indigent.

    •    Local Court Rules require your cooperation in evaluating the ADR Project and
         will expect a brief evaluation form to be completed and submitted within 10 days
         of completion of the process.

You can find ADR forms on the ADR webpage: www.sanmateocourt.org/adr. For more
information contact the Multi-Option ADR Project at (650) 261-5075 or 261-5076.


Form ADR-CV-8 “Court ADR Information Sheet ADR-CV-8” [Rev. Feb. 2014]
                                                                                                  Print Form



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                                                      
                        ADR Stipulation and Evaluation Instructions
In accordance with Local Rule 2.3(i)(3), all parties going to ADR must complete a Stipulation and Order
to ADR and file it with the Clerk of the Superior Court. The Office of the Clerk is located at:
        Clerk of the Superior Court, Civil Division
        Attention: Case Management Conference Clerk
        Superior Court of California, County of San Mateo
        400 County Center
        Redwood City, CA 94063-1655
There is no filing fee for filing the stipulation. An incomplete stipulation will be returned to the parties by
the Clerk’s Office. All stipulations must include the following:
                     Original signatures for all attorneys (and/or parties in pro per);
                     The name of the neutral;
                     Date of the ADR session; and
                     Service List (Counsel need not serve the stipulation on parties).
Parties mutually agree on a neutral and schedule ADR sessions directly with the neutral. If parties would
like a copy of the court’s Civil ADR Program Panelist List and information sheets on individual panelists,
they may visit the court’s website at www.sanmateocourt.org/adr.

If Filing the Stipulation Prior to an Initial Case Management Conference
To stipulate to ADR prior to the initial case management conference, parties must file a completed
stipulation at least 10 days before the scheduled case management conference. The clerk will send notice
of a new case management conference date approximately 90 days from the current date to allow time for
the ADR process to be completed.

If Filing Stipulation Following a Case Management Conference
When parties come to an agreement at a case management conference to utilize ADR, they have 21 days
from the date of the case management conference to file a Stipulation and Order to ADR with the court
[Local Rule 2.3(i)(3)].

Post-ADR Session Evaluations
Local Rule 2.3(i)(5) requires submission of post-ADR session evaluations within 10 days of completion
of the ADR process. Evaluations are to be filled out by both attorneys and clients. A copy of the
Evaluation By Attorneys and Client Evaluation are attached to the Civil ADR Program Panelist List or
can be downloaded from the court’s web site.

Non-Binding Judicial Arbitration
Names and dates are not needed for stipulations to judicial arbitration. The Judicial Arbitration
Administrator will send a list of names to parties once a stipulation has been submitted.

For further information regarding San Mateo Superior Court’s Civil ADR and Judicial Arbitration
Programs, visit the Court’s website at www.sanmateocourt.org/adr or contact the ADR offices at
(650) 261-5075 or (650) 261-5076.

Form ADR-CV-1 [Rev. Feb. 2014]
Attorney or Party without Attorney (Name, Address, Telephone, Fax, Court Use Only
State Bar membership number):



SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN MATEO
Hall of Justice and Records
400 County Center
Redwood City, CA 94063-1655 (650) 363-4711
Plaintiff(s):                                                                         Case number:



Defendant(s):                                                                         Current CMC Date:




         STIPULATION AND ORDER TO APPROPRIATE DISPUTE RESOLUTION

Plaintiff will file this stipulation with the Clerk’s Office 10 days prior to or 3 weeks following the first
Case Management Conference unless directed otherwise by the Court and ADR Director [Local Rule
2.3(i)(3)]. Please attach a Service List.

The parties hereby stipulate that all claims in this action shall be submitted to (select one):
  Voluntary Mediation                                        Binding Arbitration (private)
  Neutral Evaluation                                         Settlement Conference (private)
  Non-Binding Judicial Arbitration CCP 1141.12  Summary Jury Trial  Other: _______

Case Type: __________________________________
Neutral’s name and telephone number: ___________________________Date of session: _________
(Required for continuance of CMC except for non-binding judicial arbitration)
Identify by name the parties to attend ADR session: _______________________________________________
_________________________________________________________________________________________
                                                          Original Signatures

________________________________________                             ______________________________________
Type or print name of Party without attorney Attorney for                                (Signature)
Plaintiff/Petitioner Defendant/Respondent/Contestant               Attorney or Party without attorney

________________________________________                             ______________________________________
Type or print name of Party without attorney Attorney for                                (Signature)
Plaintiff/Petitioner Defendant/Respondent/Contestant               Attorney or Party without attorney

________________________________________                             ______________________________________
Type or print name of Party without attorney Attorney for                                (Signature)
Plaintiff/Petitioner Defendant/Respondent/Contestant               Attorney or Party without attorney

________________________________________                             ______________________________________
Type or print name of Party without attorney Attorney for                                (Signature)
Plaintiff/Petitioner Defendant/Respondent/Contestant               Attorney or Party without attorney

IT IS SO ORDERED:
                                                              _______________________________________________
Date:                                                         Judge of the Superior Court of San Mateo County


Form ADR-CV-1 [Rev. Feb. 2014]
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                                                       SUMMONS                                                                    rsoLo oA, v+two ac La corer
                                                 CITACION JUDICIAL)

        NOTICE 70 DEFENDANT;
        AViSO AL DEMANDADO).,                                                                                                     A'TEO
        Sunrun Inc.
        Additional defendants listed on attachment form.                                                                        APR 2 5 -.X016
        YOU ARE BEING SUE4 BY PLAINTIFF:                                                                                                             T10r

            to TSTA DEMANDANDO EL DEMANDANTE)r
        George Cohen, David Moss, and Roxanne Xenakis, Individually and on(                                                                              tc
                                                                                                                                    OE x'
        Behalf of All Others Similarly Situated
            NOTICE[ You have been sued, The court may decide against you without your being haerd unless you respond within 30 daya, Redd (Ile IM
            below.
              You have 30 CALENDAR DAYS after this summons and legal papers are served on you to Ole a written response at this court and have a copy
            served an the piainliff. A letter or phone call will not protect you. Your written response must be In proper legal form If you want the court to hear your
            case. There may be a court form lli at you can use far your response. You can find these court forms and more Infonnstion at the California Course
            Online Self -Help Center (www.courtinfo,co. govlseffhelp), your county law library, or the courthouse nearest you. If you cannot pay lite filing fee, Ask
             he court clerk for a fee waiver form. If you do not file your response an tlme, you may lose the case by default, end your wages, money, and property
            may be taken without further warning from the court.
               There are other legal requirements. You may went to call an attorney right away. If you do not know an attorney, you may went to call an Attorney
            referral oorvlce. If you cannot afford an attorney, you may be eligible for free legs/ services from a nonprofit legal services program. You can locale
            these nonprofit groups at the California Legal Services Web aIle ( www.lawha1pc81fF* rnla, 0r9), the California Courts Online 3eir-Help Center
             www,cour9nra.ca. gov16olrho1P), or by contacting your local court or county bar association. NOTE; The Court has a slatutory lion for waived fees and
            coals on any set(loment or arbilrallon award of 510, 000 or more In a civil case, The court's lion must be paid before the court will dtarnlse the case,
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        Superior Court of California, County of San Mateo Southern Branch
        400 County Center, Redwood City, CA 94063
       The name, address, and telephone number of plaintiff attorney, or plaintiff without an attomey, Is: ,
        El hombre, la dirsccldn yef ndmoro ds tef6fono del abogeda dei demandants, o del demandants que n6 !lane abogado, es):
        John T, Jasnoch, 707 Broadway, Suite 1000, San Diego, CA 92I01, 619- 233-4565/
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                                            NOTICE TO THE PERSON SERVED: You are served
                                                  1,         as an Individual defendant,
                                                  2.         as the person sued under the fictitious name of (specify):


                                                  3, M on behalf of (apathy):
                                                        under:   Q    CCP 416, 10 ( corporation)                                CCP 410, 60 (minor)
                                                                      CGP 416. 20 ( defunct corporation)              Q CCP 416.70 ( conservatoe)
                                                                   CCP 416.40 (association or partnership) Q                    CCP 416.90 (authorized person)
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                                                                       CORRECTED


                                                                                                      CASE NUMBER:
          SHORT TITLE:
          Cohen v. Sunrun Inc., et a[.                                                            I                  CIV538304


                                                                     INSTRUCTIONS FOR USE
           This form may be used as an attachment to any summons If space does not permit the Ileting of all parties on the summons.
         i Irthle attachment Is used, Insert the following statement In the plaintiff or defendant box on the summons: "Additional Parties
             Attachment Form Is attached."


         List additional parties ( Check only one box. Use a separate page for each type ofparty,):

           Q        Plaintiff            Dorondont      Q Crooa Complainant             Croa4 Dofondant


         LYNN JURICH, ROBERT KOMIN, EDWARD FENSTER, JAMESON MCNNKIN, GERALD RISK,
         STEVE VASSALLO, RICHARD WONG, CREDIT SUISSE SECURITIES (USA) LLC, GOLDMAN,
         SACHS & CO,, MORGAN STANLEY & CO. LLC, MERRILL LYNCH, PIERCE, FENNER & SMITH,
         INCORPORATED, RBC CAPITAL MARKER'S, LLC, KEYBAN'C CAPITAL MARKETS INC., and
         SUNTRUST ROBINSON HUMPHREY, INC,




                                                                                                                       Page           or .


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        Ju61da Cvundi ul Ca uamlo
                                                      ADDITIONAL PARTIES ATTACHMENT
     SUM400(A) (Rev, January 1, 20071                           Attachment to Summons
                                                                        Service of Process
                                                                        Transmittal
                                                                        04/25/2016
                                                                        CT Log Number 529055138
TO:     Jeanna Steele, Senior Counsel, Labor & Employment
        Sunrun Inc.
        595 Market St Fl 29
        San Francisco, CA 94105-2842

RE:     Process Served in California

FOR:    Sunrun Inc. (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                 GEORGE COHEN, et al., Pltfs. vs. SUNRUN INC., et al., Dfts.
DOCUMENT(S) SERVED:              Summons, Instructions, Cover Sheet, Certificate, Notice, Class Action Complaint,
                                 Appropriate Dispute Resolution Information Sheet, ADR Stipulation and Evaluation
                                 Instructions, Stipulation and Order, Statement, Attachment(s)
COURT/AGENCY:                    San Mateo County - Superior Court - Redwood City, CA
                                 Case # CIV538304
NATURE OF ACTION:                Class Action - Violations of 15 of the Securities Act
ON WHOM PROCESS WAS SERVED:      C T Corporation System, Los Angeles, CA
DATE AND HOUR OF SERVICE:        By Process Server on 04/25/2016 at 14:50
JURISDICTION SERVED :            California
APPEARANCE OR ANSWER DUE:        Within 30 days after service (Document(s) may contain additional answer dates)
ATTORNEY(S) / SENDER(S):         John T. Jasnoch
                                 Scott+Scott, Attorneys at Law, LLP
                                 707 Broadway, Suite 1000
                                 San Diego, CA 92101
                                 619-233-4565
REMARKS:                         The document(s) received have been modified to reflect the name of the entity
                                 being served.
ACTION ITEMS:                    SOP Papers with Transmittal, via Fed Ex 2 Day , 782917959602

                                 Image SOP

                                 Email Notification, Ayanna Carey ayanna.carey@sunrun.com

                                 Email Notification, Jennifer Talcott jtalcott@sunrun.com

SIGNED:                          C T Corporation System
ADDRESS:                         818 West Seventh Street
                                 Los Angeles, CA 90017
TELEPHONE:                       213-337-4615




                                                                        Page 1 of 1 / PK
                                                                        Information displayed on this transmittal is for CT
                                                                        Corporation's record keeping purposes only and is provided to
                                                                        the recipient for quick reference. This information does not
                                                                        constitute a legal opinion as to the nature of action, the
                                                                        amount of damages, the answer date, or any information
                                                                        contained in the documents themselves. Recipient is
                                                                        responsible for interpreting said documents and for taking
                                                                        appropriate action. Signatures on certified mail receipts
                                                                        confirm receipt of package only, not contents.
I:
 ..


                                                                                        L\25\p
                                                SUMMONS
                                                                                        e 50                                       COURUW ONLY
                                                                                                                               LOPAIvA USO DELA CORTOJ
                                        (CITACION JUDICIAL)
       NOTICE TO DEFENDANT:                                                                                               '-'- HLO
       AV1SOAL DEMANDADO:                                                                                           SAN MAThO COUNTY
        Sunrun I
        Xiinai defendants listed on attachment form.                                                                           APR Z 1. 2.016
       YOU ARE BEING SUED BY PLAiNTIFF:                                                                               (fg )f th() lipu,lO (ow
       (LO ESTA DEMANDANDO EL DEMANDANTE):
        George Cohen, David Moss, and Roxanne Xenakis, Individually and on                                             -
        Behalf of All Others Similarly Situated
         NOTICE[ You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the Information
        below.
           You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
        served on the plaintiff. A letter or phone call will not protect you. Your written response must be In proper legal form If you want the court to hear your
        case. There may be a court form that you can use for your response. You can find those court fomia and more information at the California Courts
        Online Seil.Halp Center (wwwcowVnf6.ca.gov/3 etThe Ip) , your county law libraty, or the courthouse nearest you. if you cannot pay the filing fee, ask
        the court clerk for a fee waiver form. if you do not file your response on time, you may lose the case by default, and your wages, money, and properly
        may be taken without 11jrthor warning from the court.
           There are other legal requirements. You may want to can an attorney right away. if you do not know an attorney, you may want to call an attorney
        referral service. it you cannot afford an attorney, you may be aiigibie tot tree legal services from a nonprofit legal suivlces program. You can locate
        these nonprofit groups at the California Legal Services Web site (www.lawholpcslifornla.org). the California Courts Online SeIf.Heip Center
        (www.courllnft.ce.gov/selTholp), or by contacting your local court or county bar association. NOTE: The court has a slalutory lien for waived We and
        coals on any settlement or arblttaiion award of $10,000 or more in a clvii case. The court's lien must be paid before the court will dismiss the case.
         AVISOI Lo hen demandado. SIno rosponde denhro do 30 dIes, Is carte puado decidiron su contra sin eacuclrorsu vetsldn. Leo Is Infoimoclon a
       conUnuec!dn.
          flene 300145 DE C.4LENDA RIO deapuOs do quo I. entraguan eats cilaclOn ypapoles legates pare presenter una respuesto porescvtto on oslo
       cartey hacar quo so ontrague tine cople a! dernundante. Una cotta o uno IIamada fetefdntca no to protagen. Su respueste par escillo (lone quo ester
       an forms/a legal correcto si doseD quo proceson su case an Is carte. Es p031010 quo hays un fwrnulado quo ustodpueda user pare su ,espuoslo.
       Panda onconlrarestos foimularios do Is carte y mae InfomsaciOn ansi Centre do AWda do las Cwtes do California fwww.sucorte.ca.gov), on to
       b!bioteca do 10 YOS do su condado o on to carte quo to quedo mds cetcs. SI no pueda pager to cuoto do prosentaclan, pida at aecrotvio do Ia carte
       quo to do an lone ulailo do axons/On do pego do cuoles. SI no presents our respire Ste a tiempo, puode perder of caso pot Incumpl!mIanlo y Is cotta Is
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       remlsidn a abogado& S/no puado pagar a an abogacfo. as posiblo quo cumpla can los requisites pare obtener aetviclos legs/es grafultos do un
       programs do servlclos to gales 3/n lines do lUcre. Piteda ancoafrar 03103 gnjpos sOt tines do lucre on of aWo web do CaNfotn!e Legal Seivfcoa
       (wwwiawhelpcallfofnle.org), an of Centre do Ayude do /as Cortes do Calif0mb, !uww.sucoile.ca.gov) o ponlandoso an contsclo can Is cotta a a!
       cologio do ebcgados locales. A V/SO: Par Soy, Is carte Vane dares/to a is c/amer las vuolasylos castos osentos porimponerun qravamen sobre
       cualquiorrecupereclOn do $10,000 0 mOo do valor racibids med/ante un actrenlo ouns cance3/On do arbitraie an un caso do dares/to civiL Tlene quo
       pagar at gravamen do is carte antos do quo Is carte pueda desechar aS caso.
      The name and address of the court Is:
      (El nombre y dlrecclôn do Is coite as):                                                                          dci 0.1CC   I V 538 30 4
       Superior Court of California, County of San Mateo Southern Branch
       400 County Center, Redwood City, CA 94063
      The name, addvess, and telephone numbeY of plaintiffs attorney, or plaintiff without an attorney, Is:
      (El nombre, Ia dire ccs'dn ye! nOmero do teMfono dol abogedo del demandente, ode! demondanto quo no f/one abogado, as).
       John T. Jasnoch, 707 Broadway, Suite 1000, San Diego, CA 92101, 619-233-4565

      DATE:                                                         Clerk, by                                     • - WtII\ fflt(j                      .Deputy
                                 I ZO%8.       - RODINA M. CATALANO (Secretarlo)                                                                        (Adjunto)
      (Facha)
      (For proof of seivfce of tins summons, use rroov or service or ummons (lOIYfl l"Ui-U7UJ./
      (Pare pruobe do enfrega do osta citation use of fomiularlo Proof of Service of Summons, (POS.010)).
                                      NOTICE TO THE PERSON SERVED: You are served
       ISEALI                        1. EJ as an Individual defendant.
                                     2. = as the person sued under the fictitious name of (specify):


                                               , on behalf of (specify):
                                           3, 66                                        It -i VLt4—.                       \C_
                                               under: LJ CCP 416.10 (corporatIon)                    CCP 416.60 (mInor)
                                                      [J CCP 416.20 (defunct corporation)            CCP 416.70 (conservatee)
                                                      [J CCP 416.40 (associetlon or partnership) [J CCP 416.90 (authorized person)
                                                    c: other (spocy):
                                           4 EJ by personal delivery on (dote):
      rest Mopl.d br u.ndibry Use                                            SUMMONS                                                Cod, of CtNI Pmc.oe 554120 495
        .kISdN Cesflhl 04 CUiocrt.                                                                                                                  wscoicfn10c&oy
        SUM.tOo pwv.ml. 20791
                                                                                                                             SUM-200(A)
                                                                                                CASE NUMBER.
    SHORT TITLE:
- Cohen v. Sunrun Inc., et al.

                                                          INSTRUCTIONS FOR USE
   3 This   form may be used  as  an attachment   to any summons   if space does not permit the listing of all parties on the summons.
   3 If this attachment is used, insert the following statement in the  plaintiff or defendant box on the summons: 'Additional Parties
     Attachment form is attached.'

    List additional parties (Check only one box. Use a separate page for each type of party.):

               Plaintiff            Defendant    F7 Cross-Complainant            Cross-Defendant

    LYNN J1JRICH, ROBERT KOMIN, EDWARD FENSTER, EDWARD MCJUNKIN, GERALD RISK,
    STEVE VASSALLO, RICHARD WONG, CREDIT SUISSE SECURITIES (USA) LLC, GOLDMAN,
    SACHS & CO., MORGAN STANLEY & CO. LLC, MERRILL LYNCH, PIERCE, FENNER & SMITH,
    INCORPORATED, RBC CAPITAL MARKETS, LLC, KEYBANC CAPITAL MARKETS INC., and
    SUNTRUST ROBINSON HUMPHREY, INC.




                                                                                                                  Page           oi[        I
                                                                                                                                   Page 1 of 1
 Form Adopted for Mandatory Use
   Judicial Council of California
                                                ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) tRee. January I. 2007]                      Attachment to Summons
                                                                                                                                                 CM..01O
                                                                                                                    FOR COURT USE OnLY
 AUORNEj OR PARTY WTHOUTA1TOI*JEY (Ne,no, EIto Bar number, and add,asa):
  John 1. Jasnoch (281605)
  Scott+Scott, Attorneys at Law, LLP                                                                 F'1 r".•
  707 Broadway, Suite 1000
  San Diego, CA 92101                                                                                i'3AN MAI'EO COUNFy
     1ELEPHONENO.: 619-233-4565                           F(NO.: 619-233-0508
                   George Cohen, David Moss, and Roxanne Xenakis
 ATTORNEY FOR (Aame):                                                                                           A
                                                                                                                                  12016
SUPERIOR COURT OF CAUFORNIA, COUNTY oi San Mateo                                                                              -
    STREETAOORESS: 400 County Center
                                                                                                      (,hIt1c '.i II1('           t1';fliOY (ci(
     AIUNQAODRESs:                                                                                                                    J.
   CITYANOZIP CODE: Redwood City, CA 94063
                                                                                                                              '
       aRANCH NAME:
  CASE NAME:
  Cohen v. Sunruii Inc., et al.
     CIVIL CASE COVERSHEET                                ComplexCaseDeslgnation
                                                                                                    cA5ENUMBE1      I
                                                                                                                          ,
                                                                                                                        'El                     04
IIIi Unlimited                 LII Limited                       ounter           Joinder
       (Amount                    (Amount
       demanded                   demanded Is           Flied with first appearance by defendant
                                  $25,000 or less)          (Cal. Rules of Court, rule 3:402)                DEPT:
       exceeds $25,000)
                                       Items 1-6 below must be comp(eteo        SOe   instructions  on   page  j.
   Check one box below for the case type that best describes this case:
    Auto Tort                                          ontract                                    Provisionally Complex Civil Litigation
                                                      ED Breach of contractAvarranty (06) (Cal. Rules of Court, rutes 3.400-3.403)
   H         Auto (22)
             Uninsured motorist (46)
   Other PIIPDIWD (Personal Injury/Property
                                                      i:ii Rule 3.740 collections (09)
                                                      LIIJ Other collections (09)
                                                                                                  LII] Antitrust/Trade regulation (03)
                                                                                                  [III] Construction defect (10)
   Damage)'roncjful Death) Tort                       LII] Insurance coverage (18)                LII]  Mass tort (40)
   LI] Asbestos (04)                                  LIII] Other contract (37)                   [2]  Securities   litigation (28)
   [III] Product liability (24)                       Real Property                               [II] EnvlronmentallTOxic tort (30)
   111111111 Medical malpractice (45)                 i:J Eminent      domalnllnverse             [II] Insurance coverage claIms arising from the
                                                                                                          above listed provisIonally complex case
                                                             condemnation (14)
   111111 Other Pt/P DIWD (23)                                                                             types (41)
     Non-P1IPOIWD (Other) 'Tort                       LIII   Wrongful   eviction (33)
   II                             ,
    I_I DUOIuIUO WIUUIuIOII UUO.IIUO pIUI'W sw.,
                                                      El Other real property (26)                 Enforcement      of Judgment
                                                      Unlawful Detainer                           ITIII  Enforcement     of Judgment(20) -
   LII Civil rights (08)
   CII Defamation (13)                                LIII Commercial (31)                        Miscellaneous Civil Complaint
   LII Fraud (16)                                     LI] Residential (32)                        LII] RICO (27)
   LII] intellectual property (19)                    LIII Drugs (38)                             LII] Other complaint (not specified above) (42)
   IlIlli Professional negligence (25)                Judicial Review                             Miscellaneous Civil PetitIon
   IT] Other non-Pi/PDIWD tort (35)                   El Asset forfeiture (05)                    IT] Partnership and corporate governance (21)
    Em loyment                                        El Petition re: arbitration award (11) El Other petition (not specified above) (43)
             Wrongful termination (36)                       Writ of mandate (02)
    t J Other                                                Other  iudicial review
2. This case LZJ. Is            L.J is not      complex  under rule   3.400 of the California Rules of Court. If the case is complex, mark the
     factors requiring exceptional judicial management:
         LE Large number of separately represented partIes                 d. [Z1 Large number of witnesses
          [Z1 Extensive motion practice raising difficult or novel e. El Coordination with related actions pending In one or more courts
                issues that will be time-consuming to resolve                       in other counties, states, or countries, or In a federal court
     c, El Substantial amount of documentary evidence                      f. El    Substantiai  postjudgment judicial supervision

3. Remedies sought (check all that apply): a.M monetary b. [2] nonmonetary; declaratory or injunctive relief c. LI] punitive
4. Number of causes of action (spocilY): 3, violations of 15 U.S.C. §77k, 771(a)(2), and 77o.
5. This case [2] is        LIII] is not a class action suit.
6. if there are any known related cases, file and serve a notice of related case,'(Yo9q,7ay use CM.015.)

Date: 4/21/2016
John T.Jasnoch


    Plaintiff must file this cover sheet with the first paper filed In the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and institutions Code). (Cal, Rules of Court, rule 3.220.) Failure to file may result
    In sanctions.
    File this cover sheet In addition to any cover sheet required by local court rule.
    If this case is complex under rule 3.400 at seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
    Unless this is a collections case under rule 3,740 or a complex case, this cover sheet will be used for statistical purposes on ly.,
                                                                                                                                        )'0O 1 or2
                                                                                                       Cal, Ruo, of Court rule, 2.30,3,220,3,400-3.403,3.740;
FonnMop1ed for Mondaoiy lJae                        CIVIL CASE COVER SHEET                                    CaL 5Iaderds of JuSdeI AdmT,'ia0on, sW. 3.10
  JudaI Courc5 of Ca'fona                                                                                                                  W W.COWEflt0.C5O?
  CM-OlD (Rev. .My 1.20071
 Attorney or Party without Attorney (Name/Address)                        FOR COURT USE ONLY
 John T. Jasnoch (CA 281605)
 Scott+Scott, Attorneys at Law, LLP
 707 Broadway, Suite 1000, San Diego, CA 92101                                           i:Il r
Telephone: 619-233-4565
State Bar No.: CA 281605                                              AN MAIEC) COUNTY
 Attorney for: Plaintiffs Cohen, Moss, and Xenakis
SUPERIOR COURT OF CALIFORNIA                                                APR 2 0016
COUNTY OF SAN MATEO
400 COUNTY CENTER                                                    ClfFl( of the 31,1puior Coma
REDWOOD CITY, CA 94063                                               EV
Plaintiff
George Cohen, David Moss, and Roxanne Xenakls
Defendant
Sunrun Inc.
                                                                                Case Number
             Certificate Re Complex Case Designation                          C I V 5 38 30 4

 This certificate must be completed and filed with your Civil Case Cover Sheet if
     you have checked a Complex Case designation or Counter-Designation

            In the attached Civil Case Cover Sheet, this case is being designated or counter-designated
            as a complex case [or as not a complex case] because at least one or more of the following
            boxes has been checked:

                    Box I - Case type that is best described as being [or not being] provisionally
                    complex civil litigation (i.e., antitrust or trade regulation claims, construction
                    defect claims involving many parties or structures, securities claims or investment
                    losses involving many parties, environmental or toxic tort claims involving many
                    parties, claims involving mass torts, or insurance coverage claims arising out of
                    any of the foregoing claims).
                    Box 2 - Complex [or not complex] due to factors requiring exceptional judicial
                    management
                    Box 5 Is [or is not] a class action suit.


            This case is being so designated based upon the following supporting information
            [including, without limitation, a brief description of the following factors as they pertain to
            this particular case: (1) management of a large number of separately represented parties;
            (2) complexity of anticipated factual and/or legal issues; (3) numerous pretrial motions
            that will be time-consuming to resolve; (4) management of a large number of witnesses or
            a substantial amount of documentary evidence; (5) coordination with related actions




CV-59 [Rev. 1/06]                                                             www.sanmateocourt.org
            pending in one or more courts in other counties, states or countries or in a federal court;
            (6) whether or not certification of a putative class action will in fact be pursued; and (7)
            substantial post-judgment judicial supervision]:
              1, 4, and 6. This is a securities class action under the Securities Act of 1933

              that charges a company, two executives, five board members, and seven underwriters with

              using false and misleading statements on their August 5,2015 Initial Public Offering.

              The Defendants will obtain separate counsel, there will be a large number of witnesses, and

             a substantial amount of documentary evidence, and Plaintiff will seek class certification.




                                       (attach additional pages if necessary)



 3.     Based on the above-stated supporting information, there is a reasonable basis for the complex
        case designation or counter-designation [or noncomplex case counter-designation] being made
        in the attached Civil Case Cover Sheet.




I, the undersigned counsel or self-represented party, hereby certify that the above is true and correct
and that I make this certification subject to the applicable provisions of California Code of Civil
Procedure, Section 128.7 and/or California Rules of Professional Conduct, Rule 5-200 (B) and San
Mateo County Superior Court Local Rules, Local Rule 2.30.



Dated: 4/21/2016


John T. Jasnoch
[Type or Print Name]                             [SignIure of Partyr Attorney For Party]




CV-59 [Rev. 1/06]                                                                www.sanmateocourt.org
                                          NOTICE OF CASE MANAGEMENT CONFERENCE

                                                                             AVA


                                                                                           LD Case No: C I V 5 3 830 4
                                                                    N MATEO COUNTY

                                                                        APR Z 12016
                                                                                                          Date: -
                                                               ClrMtiii)nor GOV4
                                                               L4        N                       Time 9:00 a.m.
                                                                              Iv
                                                                                          Dept.                       --on Tuesday & Thursday
                                                                                          Dept.                _ --on Wednesday & Friday


 You are hereby given notice of your Case Management Conference. The date, time and department have been written above.

 1.     in accordance with applicable California Rules of the Court and local Rules 2.3(d)1-4 and 2.3(m), you are hereby ordered
        to:

                 Serve all named defendants and file proofs of service on those defendants with the court within 60-days of filing
                 the complaint (CRC 201.7).
                 Serve a copy of this notice, Case Management Statement and ADR information Sheet on all named parties in this
                 action.
                 File and serve a completed Case Management Statement at least 15-days before the Case Management
                 Conference ICRC 212(g)). Failure to do so may result in monetary sanctions.
                 Meet and confer, in person or by telephone, to consider each of the issues identified in CRC 212(f) no later than
                 30-days before the date set for the Case Management Conference.
 2.    'If you fail to follow the orders above, you are ordered to show cause why you should not be sanctioned. The Order
        to Show Cause hearing will be at the same time as the Case Management Conference hearing. Sanctions may
        include monetary, evidentiary or Issue sanctions as well as striking pleadings and/or dismissal.
                                                                    aic uuiiy UIIdVU1U uniess goon cause is shown.
 4.    Parties may proceed to an appropriate dispute resolution process ("ADR") by filing a Stipulation to ADR and Proposed
       Order (see attached form). If plaintiff files a Stipulation to ADR and Proposed Order electing to proceed to judicial
       arbitration, the Case Management Conference will be taken off the court calendar and the case will be referred to the
       Arbitration Administrator. If plaintiffs and defendants file a completed stipulation to another ADR process (e.g.,
       mediation) 10—days prior to the first scheduled Case Management Conference, the Case Management Conference will be
       continued for 90-days to allow parties time to complete their ADR session. The court will notify parties of their new Case
       Management Conference date.
5.     If you have filed a default or a judgment has been entered, your case is not automatically taken off Case Management
       Conference Calendar. If "Does", "Roes," etc. are named in your complaint, they must be dismissed in order to close the
       case. If any party is in bankruptcy, the case is stayed only as to that named party.
6.     You are further ordered to appear in person * (or through your attorney of record) at the Case Management Conference
       noticed above. You must be thoroughly familiar with the case and fully authorized to proceed.
7.     The Case Management judge will issue orders at the conclusion of the conference that may include:
                Referring parties to voluntary ADR and setting an ADR completion date;
                Dismissing or severing claims or parties;
                Setting a trial date.
8.    The Case Management judge may be the trial judge in this case.

For further information regarding case management policies and procedures, see the court's websfte at: www.sanmateocourt.org

'Telephonic appearances at case management conferences are ovoioble by contacting CaurtCol!, LLC,
                                                                                                  an independent vendor, at least five business days prior
to the scheduled conference (see attached CourtColl information).
 1 SCOTT+SCOTF, ATTORNEYS AT LAW, LLP
     JOHN T. JASNOCH (CA. BAR NO. 281605)                                                     NJ9)
                                                                          S/4N MAT1O COt Jr'rry
 2 707 Broadway, Suite 1000
     SanDiego,CA 92101
 3 Telephone: (619) 233-4565                                                     /-1PR 21.2016
     Facsimile: (619) 233-0508                                            Ctrirk of tho
 4 jjasnoch@scott-scott.com                                                             13'41frior co
                                                                                   'N' t1huj
 5 counsel for Plaintiffs George cohen, David Moss, and Roxanne Xenakis

 6

 7

 8

 9
                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
10
                                      COUNTY OF SAN MATEO
11
                                                     Case No.
                                                                  CI V588 304
12 GEORGE COHEN, DAVID MOSS and
    ROXANNE XENAKIS, Individually and on
13  Behalf of All Others Similarly Situated,         CLASS ACTION COMPLAINT FOR
                                                     VIOLATIONS OF THE SECURITIES ACT
14                                    Plaintiffs,    OF 1933

15        vs.
                                                     JURY TRIAL DEMANDED
16 SUNRUN INC., LYNN JURICH, ROBERT
    KOMIN, EDWARD FENSTER, JAMESON
17 MCJUNKJN, GERALD RISK, STEVE
    VASSALLO, RICHARD WONG, CREDIT
18 SUISSE SECURITIES (USA) LLC, GOLDMAN,
    SACHS & CO., MORGAN STANLEY & CO.
19 LLC, MERRILL LYNCH, PIERCE, FENNER &
    SMITH, INCORPORATED, RBC CAPITAL
20 MARKETS, LLC, KEYBANC CAPITAL
    MARKETS INC., and SUNTRUST ROBINSON
21 HUMPHREY, INC.,

22                                    Defendants.

23
24

25

26

27

28
                                      CLASS ACTION COMPLAINT
            Plaintiffs George Cohen, David Moss, and Roxanne Xenakis ("Plaintiffs"), individually, and on

     behalf of all others similarly situated, by Plaintiffs' undersigned attorneys, for Plaintiffs' Complaint

 ii against Defendants, alleges the following based upon personal knowledge as to Plaintiffs and Plaintiffs'
 4
     own acts, and upon information and belief as to all other matters, based on the investigation conducted by
 5
     and through Plaintiffs' attorneys, which included, among other things, a review of Sunrun Inc. ("Sunrun"

 6 or the "Company") press releases, Securities and Exchange Commission ("SEC") filings, analyst and

 7 media reports, and other commentary, analysis, and information concerning Sunrun and the industry

 8 within which it operates. Plaintiffs' investigation into the matters alleged herein is continuing and many

 9 relevant facts are known only to, or are exclusively within the custody and control of, the Defendants.

10 Plaintiffs believe that substantial additional evidentiary support will exist for the allegations set forth

11 herein after a reasonable opportunity for formal discovery.
12
                               NATURE AND SUMMARY OF THE ACTION
1-
Ii
            1.      Plaintiffs bring this action under §11, 12(a)(2), and 15 of the Securities Act of 1933 (the

14 "Securities Act") against: (1) Sunrun; (2) certain of the Company's senior executives and directors

15 (collectively, "Defendants") who signed the Registration Statement (as defined below) on or around

16 August 5, 2015, for Sunrun's Initial Public Offering (the "IPO" or "Offering"); and (4) each of the
17
    underwriters of the Offering (collectively, "Defendants").
18
          2.       The Registration Statement contained materially incorrect or misleading statements and/or

19 omitted material information that was required to be disclosed. Defendants are each strictly liable for

20 such misstatements and omissions and are so liable in their capacities as signers of the Registration
21
    Statement and/or as an issuer, statutory seller, and/or offerors of the shares sold pursuant to the Offering.
22
    For all of the claims stated herein, Plaintiffs expressly disclaim any allegation that could be construed as
23
    alleging fraud or intentional or reckless misconduct.
24
            3.      Sunrun engages in the design, development, installation sale, ownership, and maintenance
25
    of residential solar energy systems in the United States. The Company markets and sells its products

26 through direct channels, partner channels, mass media, digital media, canvassing, referral, retail, and field
27
     marketing.
28
                                                       Li
                                         CLASS ACTION COMPLAINT
                4.      In the IPO, the Company and the Defendants sold 17.9 million shares of common stock at
   21
         an offering price of $14.00 per share, representing gross proceeds of $251 million. The Company's
   n
   3
         common stock is listed on the NASDAQ stock exchange under the ticker symbol "RUN."

                        Plaintiffs allege that the Registration Statement (and Prospectus incorporated therein)
   5
         contained materially incorrect or misleading statements, and/or omitted material information that was
   6
         required to be disclosed. Defendants are each strictly liable for such misstatements and omissions
   7
         therefrom (subject only, in the case of the Individual and Underwriter Defendants, to their ability to
   8
         establish a "due diligence" affirmative defense), and are so liable in their capacities as signers of the
   9
         Registration Statement and/or as an issuer, statutory seller, offeror, and/or underwriter of the over 17.9
10
         million Sunrun shares sold pursuant to the Offering. For all of the claims stated herein, Plaintiffs expressly
11
         disclaim any allegation that could be construed as alleging fraud or intentional or reckless misconduct.
12
                        Furthermore, because this case involves a Registration Statement, Defendants also had an
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13
         independent, affirmative duty to provide adequate disclosures about adverse conditions, risks, and
14
         uncertainties. See Item 303 of SEC Reg. S-K, 17 C.F.R. §229.303(a)(3)(ii). Thus, Defendants had an
15
         affirmative duty to ensure that the Registration Statement and the materials incorporated therein disclosed
16
         material trends and uncertainties that they knew or should have reasonably expected would have a
17
         materially adverse impact on Sunrun's business. Defendants failed to fulfill this obligation.
18
                        Unbeknownst to investors, however, the Registration Statement's representations were
19
         materially inaccurate, misleading, and/or incomplete because they failed to disclose, inter alia, that the
20
         Company was employing questionable sales tactics and was extremely overleveraged, particularly, using
21
         highly complex and illiquid financial instruments, and as such, its growth rate was not sustainable.
22
                        Accordingly, the price of Sunrun common stock was artificially and materially inflated at
'-I ''
23i
         the time of the Offering.
241
                        Unfortunately for investors who purchased the Company's shares pursuant or traceable to
25
         the Offering, however, the truth concerning the nature and extent of the problems facing the Company did
26
         not begin to emerge until after the Offering.
27

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                                               CLASS ACTION COMPLAiNT
 1
              10.     The truth first started to emerge in late October 2015, when, among other things,
 2
      SeekingAipha issued a report entitled Sunrun - Financial Weapon Of Mass Destruction In The Solar

      Industry noting that Sunrun's high debt leverage and dependence on complex financial instruments for

 4 growth, stating that "[t]o address the company's long term interest rate risk, Sunrun started in 2015 to use
 5
    interest rate swap derivative to hedge variable interest payment due on its syndicate loans. But the
 ri
      syndicated term loan is only a small portion of Sunrun's overall debt and financial hedges are expensive
 7
      and create counterparty risk exposures." In addition, the article stated the following regarding Sunrun's

 8 questionable business practices:
 9
           It was reported that Sunrun and its contractors use aggressive sales tactics to lure large
10         amount of customers into 20-year energy purchase contracts. In the business review
           website Yelp, customers have complained about Sunrun's use of questionable business
11         practices including providing misleading information, hidden fees, unilateral changes to
           contracts and poor customer service.
              11.     On February 10, 2016, the Company reported weaker-than-expected 4Q 2015 results,

      reporting lower-than-expected 272 megawatts ("MW") installations for the quarter, while guiding to 1Q16

      installations of 180 MW.

              12.     On the same day, Barclays analyst Jon Windham downgraded the rating of Sunrun noting

      the slowdown in installation and the rising cost of funding. Windham also noted that Sunrun's guidance

      was not only lower than the estimate of 214 MW, it was also below the Company's FY20 16 guidance of
18
      40% year-on-year installation growth.
19
             13.     On March 11, 2016, Sunrun reported $99.6 million and a 15-cent loss per share for Q4.
20
      Sales rose 66% and losses shrunk compared to the year-earlier quarter. Notably, the Company plans to
21
      install 285 MW of solar systems this year, a 40% increase over 2015, however, that is down from the 76%
22
      growth in installations last year.
23
             14.     On the same day, an Investor 's Business Daily article entitled Sunrun Offers 'Draconian'
24
      2016 View, Won't Gouge SolarCity Market reported that "analysts worry about... Sunrun's narrowing
25
      access to capital, given the market's volatility." The article also noted that "[for 2016, Sunrun sees 40%
26
      growth in solar installations vs. Credit Suisse views for 78%, analyst Patrick Jobin wrote in a research
27

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                                                      3
                                           CLASS ACTION COMPLAINT
 1
       report." Jobin further noted that it's a rather "draconian scenario, considering the (Investment Tax Credit)
 2
       has been de facto extended through 2023 and most net-metering decisions are in favor of rooftop solar."
 3
               15.     On this news, shares of Sunrun common stock fell from $7.15 per share on March 10, 2016
 4
       to $6.36 per share on March 31, 2016; a drop of over 11%.
 5
               16.     In response to those disclosures, the Company's shares fell sharply, falling from the $14.00
 6
       issuing price to a closing price on April 19, 2016 of $7.02; a staggering drop of 49%.
 7
               17.     By this action, Plaintiffs, on behalf of themselves and the other Class members who also

 8 acquired the Company's shares pursuant or traceable to the Offering, now seek to obtain a recovery for
 9
    the damages they have suffered as a result of Defendants' violations of the Securities Act, as alleged
10
    herein.
11
                                      JURISDICTION AND VENUE
12
            18.   This Court has subject matter jurisdiction over the causes of action asserted herein pursuant
I-,
13
       to the California Constitution, Article VI, § 10, because this case is a cause not given by statute to other trial
14
       courts. This action is not removable. The claims alleged herein arise under §1 1, 12(a)(2), and 15 of the
15
       Securities Act. See 15 U.S.C. §77k, 771(a)(2), and 77o. Jurisdiction is conferred by §22 of the Securities

16 Act and venue is proper pursuant to §22 of the Securities Act. See 15 U.S.C. §77v. Section 22(a) of the

17 Securities Act explicitly states that "[e]xcept as provided in section 16(c), no case arising under this title
18
    and brought in any State court of competent jurisdiction shall be removed to any court of the United States."
19
    Id. Section 16(c) refers to "covered class actions," which are defined as lawsuits brought as class actions
20
    or brought on behalf of more than 50 persons asserting claims under state or common law. See 15 U.S.C.

21 §77p(c) and (f)(2). This action is asserting federal law claims and, thus, does not fall within the definition
22
    of "covered class action" under Securities Act § 1 6(b)-(c) and therefore, is not removable to federal court.
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L i,
       See Luther v. Countrywide Fin. Corp., 195 Cal. App. 4th 789, 792 (2011) ("The Federal Securities Act of

24 1933 . . . as amended by the Securities Litigation Uniform Standards Act. . . provides for concurrent

25 jurisdiction for cases asserting claims under the 1933 Act. . . ."); Luther v. Countrywide Home Loans
26
    Servicing LP, 533 F.3d 1031, 1032 (9th Cir. 2008) ("Section 22(a) of the Securities Act of 1933 creates
27

28
                                               CLASS ACTiON COMPLAINT
 1 concurrent jurisdiction in state and federal courts over claims arising under the Act. It also specifically

 2 provides that such claims brought in state court are not subject to removal to federal court.").
 -I


            19.    This Court has personal jurisdiction over each of the Defendants named herein because they

 4 conduct business, were citizens of, andlor took steps to prepare the Offering in California. Additionally,
 5
    Sunrun is headquartered within this County, many of the Individual Defendants are located within this
 6
    County and the statements complained of herein were disseminated into this State.
 7
            20.     Venue is proper in this Court because Defendants' wrongful acts arose in and emanated
 8
    from, in part, this County. The violations of law complained of herein occurred in this County, including

 9 the dissemination of materially misleading statements into this County, the purchase of the Company's
10
    common stock by members of the class who reside in this County and the sale of the Company's common
11
    stock by certain of the Underwriter Defendants (as defined below) in this County. In addition, certain of
12
    the Defendants live, are headquartered, and/or maintain offices of operations in this County.
13
                                                   PARTIES
14
    A.      Plaintiffs
15
            21.     Plaintiff George Cohen purchased shares of the Company's common stock that were issued

16 pursuant and traceable to the Registration Statement and the Offering, and was damaged thereby.
17
           22.     Plaintiff David Moss purchased shares of the Company's common stock that were issued

18 pursuant and traceable to the Registration Statement and the Offering, and was damaged thereby.
19
           23.     Plaintiff Roxanne Xenakis purchased shares of the Company's common stock that were

20 issued pursuant and traceable to the Registration Statement and the Offering, and was damaged thereby.
21
     B.    Defendants
22
           24.     Defendant Sunrun engages in the design, development, installation, sale, ownership, and
23
     maintenance of residential solar energy systems in the United States. It also sells solar leads. The

24 company markets and sells its products through direct channels, partner channels, mass media, digital
25
    media, canvassing, referral, retail, and field marketing. The Company conducted the Offering for its

26 common stock on or around August 5, 2015. Sunrun's shares are listed on the NASDAQ under the ticker

27 symbol "RUN." Sunrun was founded in 2007 and is headquartered in San Francisco, California.
28
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                                    CLASS ACTiON COMPLAINT
 1
            25.     Defendant Lynn Jurich ("Jurich") was, at the time of the Offering, Sunrun's Chief

 2 Executive Officer and director of the Company. Defendant Jurich signed, or authorized the signing of,

     the false and misleading Registration Statement and Prospectus.

                    Defendant Robert Komin ("Komin") was, at the time of the Offering, Sunrun's Chief

     Financial Officer ("CFO"). Defendant Komin signed, or authorized the signing of, the false and

     misleading Registration Statement and Prospectus.

                    Defendant Edward Fenster ("Fenster") was, at the time of the Offering, Chairman of

 8 Sunrun's Board of Directors ("BOD") and director of the Company. Defendant Fenster signed, or

     authorized the signing of, the false and misleading Registration Statement and Prospectus.
10
            28.     Defendant Jameson McJunkin ("McJunkin") was, at the time of the Offering, a member of

11 Sunrun's BOD. Defendant McJunkin signed, or authorized the signing of, the false and misleading
12
    Registration Statement and Prospectus.
13
           29.     Defendant Gerald Risk ("Risk") was, at the time of the Offering, a member of Sunrun's

14 BOD. Defendant Risk signed, or authorized the signing of, the false and misleading Registration
15
    Statement and Prospectus.
16
          30.     Defendant Steve Vassallo ("Vassallo") was, at the time of the Offering, a member of

17 Sunrun's BOD. Defendant Vassallo signed, or authorized the signing of, the false and misleading
18
    Registration Statement and Prospectus.
19
           31.     Defendant Richard Wong ("Wong") was, at the time of the Offering, a member of Sunrun's

20 BOD. Defendant Wong signed, or authorized the signing of, the false and misleading Registration
21
    Statement and Prospectus.
22
          32.     Defendants Jurich, Komin, Fenster, McJunkin, Risk, Vassallo, and Wong are collectively

     referred to herein as the "Individual Defendants."
24
            33.     The Individual Defendants each participated in the preparation of and signed (or authorized

25 the signing of) the Registration Statement and Prospectus. Defendant Sunrun and the Individual

26 Defendants who signed (or authorized the signing of) the Registration Statement are strictly liable for the

27 materially untrue and misleading statements incorporated into the Registration Statement. The Individual
28
                                                      6
                                         CLASS ACTiON COMPLAINT
 1 Defendants, because of their positions with the Company, possessed the power and authority to control
 2
    the contents of Sunrun's reports to the SEC, press releases, and presentations to securities analysts, money

 3 and portfolio managers, and institutional investors; i.e., the market.
 4
           34.    Defendant Credit Suisse Securities (USA) LLC ("Credit Suisse") was an underwriter for
 5
    the IPO Offering. In the Offering, Credit Suisse agreed to purchase 4,296,000 Sunrun shares. Sunrun

 6 acted as a joint lead book-running manager for the Offering. This Defendant did business within this
 7
    District in connection with the Offering.
 8
            35.     Defendant Goldman, Sachs & Co. ("Goldman Sachs") was an underwriter for the IPO

 9 Offering. In the Offering, Goldman Sachs agreed to purchase 4,296,000 Sunrun shares. Goldman Sachs

10 acted as a joint lead book-running manager for the Offering. This Defendant did business within this

11 District in connection with the Offering.
12
             36.   Defendant Morgan Stanley & Co. LLC ("Morgan Stanley") was an underwriter for the IPO

13 Offering. In the Offering, Morgan Stanley agreed to purchase 4,296,000 Sunrun shares. Morgan Stanley

14 acted as a joint lead book-running manager for the Offering. This Defendant did business within this

15 District in connection with the Offering.
16
             37.   Defendant Merrill Lynch, Pierce, Fenner & Smith, Incorporated ("Merrill Lynch") was an

17 underwriter for the IPO Offering. In the Offering, Merrill Lynch agreed to purchase 2,327,000 Sunrun

18 shares. Merrill Lynch acted as a joint book-running manager for the Offering. This Defendant did

19 business within this District in connection with the Offering.
20
           38.     Defendant RBC Capital Markets, LLC ("RBC") was an underwriter for the IPO Offering.
21
    In the Offering, RBC agreed to purchase 1,969,000 Sunrun shares. RBC acted as a joint book-running
22
    manager for the Offering. This Defendant did business within this District in connection with the Offering.
Li
            39.    Defendant KeyBanc Capital Markets Inc. ("KeyBanc") was an underwriter for the IPO

24 Offering. In the Offering, KeyBanc agreed to purchase 447,500 Sunrun shares. KeyBanc acted as a co-
25
    manager for the Offering. This Defendant did business within this District in connection with the Offering.
26
           40.     Defendant SunTrust Robinson Humphrey, Inc. ("SunTrust") was an underwriter for the

27 IPO Offering. In the Offering, SunTrust agreed to purchase 268,500 Sunrun shares. SunTrust acted as a
28
                                                      7
                                       CLASS ACTION COMPLAINT
 1 co-manager for the Offering. This Defendant did business within this District in connection with the
 2
    Offering.

                    Defendants Credit Suisse, Goldman Sachs, Morgan Stanley, Merrill Lynch, RBC,

     KeyBanc, and SunTrust are referred to collectively as the "Underwriter Defendants."

                    Pursuant to the Securities Act, the Underwriter Defendants are liable for the false and

 6 misleading statements in the Offering's Registration Statement and Prospectus. The Underwriter

     Defendants' failure to conduct adequate due diligence investigations was a substantial factor leading to
 8
     the harm complained of herein.

                    The Underwriter Defendants are primarily investment banking houses which specialize,
10
     inter alia, in underwriting public offerings of securities. As the underwriters of the Offering, in addition
     to their lucrative underwriting fees, they also received an option to purchase up to 2,685,000 additional
12
     shares of common stock at the public offering price, less underwriting discounts and commissions.

                    The Underwriter Defendants determined that, in return for substantial fees and an option

14 to purchase up to 2,685,000 additional shares, they were willing to underwrite and market Sunrun's

15 common stock in the Offering. The Underwriter Defendants met with potential investors and presented

16 highly favorable but materially incorrect and/or materially misleading information about the Company,

17 its business, products, plans, and financial prospects, and/or omitted to disclose material information

18 required to be disclosed under the federal securities laws and applicable regulations promulgated
19
    thereunder.
20
           45.    Representatives of the Underwriter Defendants also assisted Sunrun and the Individual

21 Defendants in planning the Offering. They also purported to conduct an adequate and reasonable
22
    investigation into the business, operations, products, and plans of Sunrun, an undertaking known as a "due

     diligence" investigation. During the course of their "due diligence," the Underwriter Defendants had

24 continual access to confidential corporate information concerning Sunrun's business, financial condition,
25
    products, plans, and prospects.
26
           46.     In addition to having access to internal Sunrun corporate documents, the Underwriter

27 Defendants and/or their agents, including their counsel, had access to Sunrun's lawyers, management,
28
                                                      8
                                        CLASS ACTION COMPLAINT
 1
      directors, and top executives to determine: (i) the strategy to best accomplish the Offering; (ii) the terms
 2
      of the Offering, including the price at which Sunrun' s common stock would be sold; (iii) the language to
 3
      be used in the Registration Statement; (iv) what disclosures about Sunrun would be made in the
 4
      Registration Statement; and (v) what responses would be made to the SEC in connection with its review
 5
      of the Registration Statement. As a result of those constant contacts and communications between the
 6
      Underwriter Defendants' representatives and Sunrun' s management and top executives, at a minimum the
 7
      Underwriter Defendants should have known of Sunrun' s undisclosed existing problems and plans, and the
 8
      material misstatements and omissions contained in the Registration Statement as detailed herein.
 9
                     The Underwriter Defendants caused the Registration Statement to be filed with the SEC
10
      and to be declared effective in connection with offers and sales of Sunrun shares pursuant and/or traceable
11
      to the Offering and relevant offering materials, including to Plaintiff and the Class.
12
                                         SUBSTANTIVE ALLEGATIONS
1-,
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      I.     THE OFFERING AND THE COMPANY'S MATERIALLY MISLEADING AND
14           INCOMPLETE REGISTRATION STATEMENT AND PROSPECTUS

15                   On or around August 5, 2015, Sunrun conducted the Offering, selling 17.9 million shares

16 of Sunrun common stock at a price to the public of $14.00 per share. Credit Suisse, Goldman Sachs, and

17 Morgan Stanley acted as lead book-runrnng managers for the Offering. Merrill Lynch and RBC acted as

18 book-running managers and KeyBanc and SunTrust acted as co-managers for the Offering.

19                   The Registration Statement was negligently prepared and, as a result, contained untrue

20 statements of material facts or omitted to state the facts necessary to make the statements not misleading,

21 and was not prepared in accordance with the rules and regulations governing its preparation. Given the

22 Individual Defendants' interest is ensuring a favorably high offering price, it is hardly surprising that the

23 Company's Registration Statement and Prospectus incorporated therein again presented a highly positive

24 picture of the Company's business, performance, prospects, and products, while omitting crucial realities.

25                   The Registration Statement stated the following regarding the Company's growth:
             We are an innovator in bringing scalable new channels for customer acquisition and solar
26
             installation to market. Historically, our primary focus towards these efforts was in building
27           out a leading, diversified partner network of solar sales and installation companies. These
             partners include local solar installation contractors, sales and lead generation companies
28
                                                       9
                                            CLASS ACTION COMPLAINT
            and large retailers that help us acquire customers and build solar energy systems, while we
            own and manage the systems and the 20-year customer experience. The ecosystem we
2           built provides broad reach, positioning us for sustained and rapid growth through a capital
            efficient business model. Our network of partners continues to thrive and expand today.

4
            We have experienced substantial growth in our business and operations since our inception
5           in 2007. As of March 31, 2015, we operated the second largest fleet of residential solar
            energy systems in the United States, with approximately 79,000 customers across 13 states.
6           We have deployed an aggregate of 430 megawatts ("MW") as of March 31, 2015. As of
            March 31, 2015, our estimated nominal contracted payments remaining was approximately
 7
            $1.71 billion, and our estimated retained value was $1.1 billion. For the quarter ended
8           March 31, 2015, the average size of the solar energy systems we installed was over 7
            kilowatts in production capacity. Our growth has occurred despite declining incentives.
9           For example, California, our largest market, has grown more than 1 Ox between 2008 and
            2014 even as proceeds from California and federal incentives have declined by
10          approximately $3.00 per watt.
11

12          Our ability to connect specialized sales and installation firms on a single platform, which
            we license to our solar partners at no cost, allows us to enjoy the benefits of vertical
13          integration without the additional fixed cost structure. This creates margin opportunities,
            system efficiencies and benefits from network effects in matching these ecosystem
14          participants. In 2014, we delivered customer growth of over 50% compared to 2013
15          through our solar partnerships.
            51.    The Registration Statement states the following regarding its customer agreements and its
16
     dependence on a low cost of capital:
17
            Our customer agreements provide for recurring customer payments, typically over 20
18          years, and the related solar energy systems are generally eligible for ITCs, accelerated tax
            depreciation and other government or utility incentives. Our financing strategy is to
19
            monetize these benefits at a low weighted-average cost of capital. This low cost of capital
20          enables us to offer attractive pricing to our customers for the energy generated by the solar
            energy system on their homes. Historically, we have monetized a portion of the value
21          created by our customer agreements and the related solar energy systems through
            investment funds. These assets are attractive to fund investors due to the long-term,
22          recurring nature of the cash flows generated by our customer agreements, the high credit
23          scores of our customers, the fact that energy is a non-discretionary good and our low loss
            rates. As of March 31, 2015, our average customer under a lease or PPA had a FICO score
24          of over 760 and we had collected approximately 99% of cumulative billings due from
            customers. In addition, fund investors can receive attractive after-tax returns from our
25          investment funds due to their ability to utilize ITCs, accelerated depreciation and certain
            government or utility incentives associated with the funds' ownership of solar energy
26
            systems.
27

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                                                       10
                                            CLASS ACTION COMPLAINT
   I
                       Unbeknownst to investors or the members of the Class, however, at the time of the
  2
        Offering, Defendants failed to disclose that the Company was employing questionable sales tactics and

        was extremely overleveraged, particularly, using highly complex and illiquid financial instruments, and
  4
        as such, its growth rate was not sustainable.
  5
        III. THE TRUTH BEGINS TO EMERGE
  6
                       On October 23, 2015, a SeekingAipha article entitled Sunrun - Financial Weapon Of Mass
  7
        Destruction In The Solar Industry reported the following:
  8
               I view Sunrun's use of no-down payment solar lease to lure large amount of customers, its
  9            high debt leverage using highly complex and illiquid financial instrument, its failure to
               deliver returns above its cost of capital and the interest rate/solar policy risks as the main
10             reasons for my negative view on the stock. I see this solar leasing company a financial
               weapon of mass destruction in the solar industry.
11
                       The article further noted Sunrun's high debt leverage and dependence on complex financial
12
        instruments for growth, stating that "[flo address the company's long term interest rate risk, Sunrun started
1-,
1.)
        in 2015 to use interest rate swap derivative to hedge variable interest payment due on its syndicate loans.
14
        But the syndicated term loan is only a small portion of Sunrun's overall debt and financial hedges are
15
        expensive and create counterparty risk exposures." In addition, the article stated the following regarding
16
        the Company's use of complex financial instruments:
17
               As a solar panel leasing company, Sunrun borrows capital for the short-term in order to
18             lend capital over the long-term (solar lease are 20 years long). Therefore Sunrun faces
               significant long term interest rate risk as the short term loan is typically floating rate based
19             on LIBOR + 3-5% while Sunrun's lease income is mostly fixed (2.2% annual escalator)
               over the 20 year term. Therefore, Sunrun faces greater long term credit and interest rate
20             risk than a bank does. Like a bank, Sunrun extends credit to retail customers. Sunrun
21             customers weighted average credit score is 759 (range 5 72-844). Unlike a bank, Sunrun
               writes 20-year fixed rate lease while banks mostly write short term, fixed-rate loans.
22             Today, bank passes most of its long-term, 30-year mortgage loan to the US government
               (through Fannie Mae). To address the company's long term interest rate risk, Sunrun
,.. -
Li             started in 2015 to use interest rate swap derivative to hedge variable interest payment due
               on its syndicate loans. But the syndicated term loan is only a small portion of Sunrun's
24
               overall debt and financial hedges are expensive and create counterparty risk exposures.
25             For the majority of the fixed-rate term loan outstanding, Sunrun still faces significant re-
               finance risk as these loans mature and require renewal.
26
                       Further, the article stated the following regarding Sunrun's questionable business practices:
27
               It was reported that Sunrun and its contractors use aggressive sales tactics to lure large
28             amount of customers into 20-year energy purchase contracts. In the business review
                                                          11
                                            CLASS ACTION COMPLAINT
   1         website Yelp, customers have complained about Sunrun's use of questionable business
             practices including providing misleading information, hidden fees, unilateral changes to
   2         contracts and poor customer service.
   3                 On February 10, 2016, the Company reported weaker-than-expected 4Q 2015 results,
   4 reporting lower-than-expected 272 MW installations for the quarter, while guiding to 1Q16 installations

   5 of 180 MW.

   6                 Barclays analyst Jon Windham downgraded the rating of Sunrun noting the slowdown in
   7 installation and the rising cost of funding. Windham also noted that Sunrun's guidance was not only lower

   8 than the estimate of 214 MW, it was also below the Company's FY2016 guidance of 40% year-on-year

   9 installation growth.

10                   On March 11, 2016, Sunrun reported $99.6 million and a 15-cent loss per share for Q4.
11 Sales rose 66% and losses shrunk compared to the year-earlier quarter. Notably, the Company plans to

12 install 285 MW of solar systems this year, a 40% increase over 2015, however, that is down from the 76%

13 growth in installations last year.

14                   On the same day, an Investor 's Business Daily article entitled Sunrun Offers 'Draconian'
15 2016 View, Won't Gouge SolarCity Market reported that "analysts worry about... Sunrun's narrowing

16 access to capital, given the market's volatility." The article also noted that "[for 2016, Sunrun sees 40%

17 growth in solar installations vs. Credit Suisse views for 78%, analyst Patrick Jobin wrote in a research

18 report." Jobin further noted that it's a rather "draconian scenario, considering the (Investment Tax Credit)

19 has been de facto extended through 2023 and most net-metering decisions are in favor of rooftop solar."

20                   On this news, shares of Sunrun common stock fell from $7.15 per share on March 10, 2016
21 to $6.36 per share on March 31, 2016; a drop of over 11%.

22                   In response to those disclosures, the Company's shares fell sharply, falling from the $14.00
.-' -,
L.) issuing price to a closing price on April 19, 2016 of $7.02; a staggering drop of 49%.

24                              PLAINTIFFS' CLASS ACTION ALLEGATIONS

25                   Plaintiffs bring this action as a class action on behalf of a Class, consisting of all those who

26 purchased the Company's preferred stock pursuant or traceable to the Company's Offering and

27 Registration Statement and who were damaged thereby (the "Class"). Excluded from the Class are

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                                                       12
                                            CLASS ACTION COMPLAINT
 1
      Defendants; the officers and directors of the Company at all relevant times; members of their immediate
 2
      families and their legal representatives, heirs, successors, or assigns; and any entity in which Defendants

      have or had a controlling interest.
 4
             63.     The members of the Class are so numerous that joinder of all members is impracticable.
 5
      While the exact number of Class members is unknown to Plaintiffs at this time and can only be ascertained
 6
      through appropriate discovery, Plaintiffs believe that there are thousands of members of the proposed
 7
      Class. The members of the proposed Class may be identified from records maintained by the Company
 8
      or its transfer agent, and may be notified of the pendency of this action by mail, using customary forms of
 9
      notice that are commonly used in securities class actions.
10
             64.     Plaintiffs' claims are typical of the claims of the members of the Class, as all members of
11
      the Class are similarly affected by Defendants' wrongful conduct.
12
             65.     Plaintiffs will fairly and adequately protect the interests of the members of the Class and
13
      have retained counsel competent and experienced in class and securities litigation.
14
             66.     Common questions of law and fact exist as to all members of the Class and predominate
15
      over any questions solely affecting individual members of the Class. Among the questions of law and fact
16
      common to the Class are:
17
                             whether the federal securities laws were violated by Defendants' acts as alleged
18                           herein;

19                           whether the Prospectus and Registration Statement contained materially false and
                             misleading statements and omissions; and
20
                     C.      to what extent Plaintiffs and members of the Class have sustained damages and the
21                           proper measure of damages.

22           67.     A class action is superior to all other available methods for the fair and efficient

,..23_,i adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the
24 damages suffered by individual Class members may be relatively small, the expense and burden of

25 individual litigation make it impossible for members of the Class to individually redress the wrongs done

261 to them. There will be no difficulty in the management of this action as a class action.

271

281
                                                       13
                                            CLASS ACTION COMPLAINT
 I                                               FIRST CLAIM
                                      Violations of §11 of the Securities Act
 2                                           Against All Defendants
 3                  Plaintiffs repeat and reallege each and every allegation contained above as if fully set forth

 4 I herein.

 5                  This Claim is brought pursuant to §11 of the Securities Act, 15 U.S.C. §77k, on behalf of
 6 I the Class, against each of the Defendants.

 7                  The Registration Statement was inaccurate and misleading, contained untrue statements of
 8 material facts, omitted facts necessary to make the statements made therein not misleading, and omitted

 9 Ito state material facts required to be stated therein.

10                  The Company is the issuer of the securities purchased by Plaintiffs and the Class. As such,
11 the Company is strictly liable for the materially inaccurate statements contained in the Registration

12 Statement and the failure of the Registration Statement to be complete and accurate.
1-,
13                  The Individual Defendants each signed the Registration Statement. As such, each is strictly
14 liable for the materially inaccurate statements contained in the Registration Statement and the failure of

15 the Registration Statement to be complete and accurate, unless they are able to carry their burden of

16 establishing an affirmative "due diligence" defense. The Individual Defendants each had a duty to make

17 a reasonable and diligent investigation of the truthfulness and accuracy of the statements contained in the

18 Registration Statement, to ensure that they were true and accurate, that there were no omissions of material

19 facts that would make the Registration Statement misleading, and that the document contained all facts

20 required to be stated therein. In the exercise of reasonable care, the Individual Defendants should have

21 known of the material misstatements and omissions contained in the Registration Statement and also

22 should have known of the omissions of material fact necessary to make the statements made therein not
, -,
Li misleading. Accordingly, the Individual Defendants are liable to Plaintiffs and the Class.

24                  By reasons of the conduct herein alleged, each Defendant violated § 11 of the Securities
25 1 Act.

26                  Plaintiffs acquired the Company's common stock pursuant or traceable to the Registration

27 I Statement, and without knowledge of the untruths and/or omissions alleged herein. Plaintiffs sustained

28
                                                      14
                                           CLASS ACTION COMPLAINT
  ii damages, and the price of the Company's common stock declined substantially due to material

         misstatements in the Registration Statement.

                     75.   This claim was brought within one year after the discovery of the untrue statements and
  4
         omissions and within three years of the date of the Offering.
  5
                     76.   By virtue of the foregoing, Plaintiffs and the other members of the Class are entitled to

  6 damages under §11 as measured by the provisions of11(e), from the Defendants and each ofthem,jointly

  7 and severally.
  8
                                                      SECOND CLAIM
  9                                       Violations of §12(a)(2) of the Securities Act
                                                    Against All Defendants
10
                     77.   Plaintiffs repeat and reallege each and every allegation contained above as if fully set forth
11
        11 herein.
12
                           Defendants were sellers, offerors, and/or solicitors of purchasers of the Company's
1-,
13
         securities offered pursuant to the Offering. Defendants issued, caused to be issued, and signed the
14
         Registration Statement in connection with the Offering. The Registration Statement was used to induce
15
         investors, such as Plaintiffs and the other members of the Class, to purchase the Company's shares.
16
                           The Registration Statement contained untrue statements of material facts, omitted to state
17
         other facts necessary to make the statements made not misleading, and omitted material facts required to
18
         be stated therein. Defendants' acts of solicitation included participating in the preparation of the false and
19
         misleading Registration Statement.
20
                           As set forth more specifically above, the Registration Statement contained untrue
21
         statements of material facts and omitted to state material facts necessary in order to make the statements,
22
         in light of circumstances in which they were made, not misleading.
,' -,
Li
                           Plaintiffs and the other Class members did not know, nor could they have known, of the
24
        I untruths or omissions contained in the Registration Statement.
25
                           The Defendants were obligated to make a reasonable and diligent investigation of the
26
         statements contained in the Registration Statement to ensure that such statements were true and that there
27
         was no omission of material fact required to be stated in order to make the statements contained therein
28
                                                             15
                                                  CLASS ACTION COMPLAINT
 1
     not misleading. None of the Defendants made a reasonable investigation or possessed reasonable grounds

 2 for the belief that the statements contained in the Registration Statement were accurate and complete in

     all material respects. Had they done so, these Defendants could have known of the material misstatements

     and omissions alleged herein.

               83.   This claim was brought within one year after discovery of the untrue statements and

 6 omissions in the Registration Statement and within three years after the Company's shares were sold to

     the Class in connection with the Offering.
 8
                                                 THIRD CLAIM
 9                                   For Violations of §15 of the Securities Act
                                        Against the Individual Defendants
10
               84.   Plaintiffs repeat and reallege each and every allegation contained above as if fully set forth
11
     herein.
12
               85.   The Individual Defendants were controlling persons of the Company within the meaning
13
     of § 15 of the Securities Act. By reason of their ownership interest in, senior management positions at,
14
     and/or directorships held at the Company, as alleged above, these Defendants invest in, individually and
15
     collectively, had the power to influence, and exercised the same, over the Company to cause it to engage
16
     in the conduct complained of herein. By reason of such conduct, the Individual Defendants are liable
17
     pursuant to §15 of the Securities Act.
18
               86.   By reason of such wrongful conduct, the Individual Defendants are liable pursuant to § 15
19
     of the Securities Act. As a direct and proximate result of the wrongful conduct, Class members suffered
20
     damages in connection with their purchases of the Company's shares.
21
                                              REQUEST FOR RELIEF
22
               WHEREFORE, Plaintiffs pray for judgment as follows:
23

24             A.    Declaring this action to be a proper class action and certif'ing Plaintiffs as Class

25 representatives;

26             B.    Awarding Plaintiffs and the other members of the Class compensatory damages;
27

28
                                                         16
                                              CLASS ACTION COMPLA1NT
 1           C.     Awarding Plaintiffs and the other members of the Class rescission on their §12(a)(2)

 2 claims;

             D.     Awarding Plaintiffs and the other members of the Class pre-judgment and post-judgment
 4
     interest, as well as reasonable attorneys' fees, expert witness fees, and other costs and disbursements; and
 5
             E.     Awarding Plaintiffs and the other members of the Class such other and further relief as the
 6
     Court may deem just and proper.

 8                                         JURY TRIAL DEMANDED

 9           Plaintiffs hereby demand a trial by jury.




                                                         J\
10
     DATED: April 21, 2016                         SCOTT+ TT, ATT RNEYS AT LAW, LLP


12                                                                            VThV
                                                   JOf1 .JASNOC1- CABARNO.281605)
13                                                 707 Broadway, Suite 1000
14                                                 SanDiego,CA92!01
                                                   Telephone: (619) 233-4565
15                                                 Facsimile: (619) 233-0508
                                                   jjasnochscott-scott.com
16

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                                                      17
                                           CLASS ACTION COMPLAINT
 1          Joseph V. Halloran (CA BAR NO. 288617)
            SCOTT+SCOTT, ATTORNEYS AT LAW, LLP
 2          The Chrysler Building
            405 Lexington Avenue, 40th Floor
            New York, NY 10174
 4          Telephone: 212-223-6444
            Facsimile: 212-223-6334
  5         jhalloran@scott-scott.com

 6          Attorneys for Plaintiffs George Cohen, David Moss, and
            Roxanne Xenakis
 7

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       CLASS ACTiON COMPLAINT
             APPROPRIATE DISPUTE RESOLUTION INFORMATION SHEET

               SUPERIOR COURT OF CALIFORNIA, SAN MATEO COUNTY

In addition to the court provided voluntary and mandatory settlement conferences, this
court has established, in partnership with the community and Bar Association, the Multi-
Option ADR Project. Recognizing that many civil disputes can be resolved without the
time and expense of traditional civil litigation, the San Mateo County Superior Court
encourages the parties in civil cases to explore and pursue the use of Appropriate
Dispute Resolution

WHAT IS APPROPRIATE DISPUTE RESOLUTION?

Appropriate Dispute Resolution (ADR) is the general term applied to a wide variety of
dispute resolution processes which are alternatives to lawsuits. Types of ADR
processes include arbitration, mediation, neutral evaluation, mini-trials, settlement
conferences, private judging, negotiation, and hybrids of these processes. All ADR
processes offer a partial or complete alternative to traditional court litigation for resolving
disputes.

WHAT ARE THE ADVANTAGES OF USING ADR?

ADR can have a number of advantages over traditional court litigation.

    ADR can save time. Even in a complex case, a dispute can be resolved through
    ADR in a matter of months or weeks, while a lawsuit can take years.

    ADR can save money. By producing earlier settlements, ADR can save parties and
    courts money that might otherwise be spent on litigation costs (attorney's fees and
    court expenses).

    ADR provides more participation. Parties have more opportunity with ADR to
    express their own interests and concerns, while litigation focuses exclusively on the
    parties' legal rights and responsibilities.

    ADR provides more control and flexibility. Parties can choose the ADR process
    most appropriate for their particular situation and that will best serve their particular
    needs.

    ADR can reduce stress and provide greater satisfaction. ADR encourages
    cooperation and communication, while discouraging the adversarial atmosphere
    found in litigation. Surveys of disputants who have gone through ADR have found
    that satisfaction with ADR is generally high, especially among those with extensive
    ADR experience.

Arbitration, Mediation, and Neutral Evaluation

Although there are many different types of ADR processes, the forms most commonly
used to resolve disputes in California State courts are Arbitration, Mediation and Neutral
Evaluation. The Multi-Option ADR Project a partnership of the Court, Bar and
Community offers pre-screened panelists with specialized experience and training in
each of these areas.

Arbitration: An arbitrator hears evidence presented by the parties, makes legal rulings,
determines facts and makes an arbitration award. Arbitration awards may be entered as

Form ADR-Cv-8 "Court ADR Information Sheet ADR-C V-8 [Rev. Feb. 2014]
judgments in accordance with the agreement of the parties or, where there is no
agreement, in accordance with California statutes. Arbitrations can be binding or non-
binding, as agreed by the parties in writing.

Mediation: Mediation is a voluntary, informal, confidential process in which the
mediator, a neutral third party, facilitates settlement negotiations. The mediator
improves communication by and among the parties, helps parties clarify facts, identify
legal issues, explore options and arrive at a mutually acceptable resolution of the
dispute.

Neutral Evaluation: Involves presentations to a neutral third party with subject matter
expertise who may render an opinion about the case the strengths and weaknesses of
the positions, the potential verdict regarding liability, and a possible range for damages.

CIVIL ADR PROCEDURES FOR THE SAN MATEO COUNTY SUPERIOR COURT

        Upon filing a Complaint, the Plaintiff will receive this information sheet from the
        Superior Court Clerk. Plaintiff is expected to include this information sheet when
        he or she serves the Complaint on the Defendant.

         All parties to the dispute may voluntarily agree to take the matter to an ADR
         process. A stipulation is provided here. Parties chose and contact their own ADR
         provider. A Panelist List is available online.

        If the parties have not agreed to use an ADR process, an initial Case
        Management Conference ('CMC") will be scheduled within 120 days of the filing
        of the Complaint. An original and copy of the Case Management Conference
        Statement must be completed and provided to the court clerk no later than
        15 days prior to the scheduled conference. The San Mateo County Superior
        Court Case Management Judges will strongly encourage all parties and their
        counsel to consider and utilize ADR procedures and/or to meet with the ADR
        director and staff where appropriate.

         If the parties voluntarily agree to ADR, the parties will be required to sign and file
         a Stipulation and Order to ADR.

        A timely filing of a stipulation (at least 10 days prior to the CMC) will cause a
        notice to vacate the CMC. ADR stipulated cases (other than judicial arbitration)
        will be continued for further ADR/Case Management status review in 90 days. If
        the case is resolved through ADR, the status review date may be vacated if the
        court receives a dismissal or judgment. The court may upon review of case
        information suggest to parties an ADR referral to discuss matters related to case
        management, discovery and ADR.

         Any ADR Services shall be paid for by the parties pursuant to a separate ADR
         fee agreement. The ADR Director may screen appropriate cases for financial aid
         where a party is indigent.
         Local Court Rules require your cooperation in evaluating the ADR Project and
         will expect a brief evaluation form to be completed and submitted within 10 days
         of completion of the process.

You can find ADR forms on the ADR webpage: www.sanmateocourt.org/adr. For more
information contact the Multi-Option ADR Project at (650) 261-5075 or 261-5076.


Form ADR-CV-8 Court ADR Information Sheet ADR-CV-8' [Rev. Feb. 2014]
                     SUPERIOR COUR I OF CALIFORNIA COUN ry OF SAN MA I CO
                                MULl I OPTION ADR PROJECT
                                       H LL OF JUS I ICE AND RECORDS
                                            400 COUNI\ CLNThR
                                      REDWOOD CITY, CALIFORNIA 910G3


                        ADR Stipulation and Evaluation Instructions
In accordance with Local Rule 2.3(i)(3), all parties going to ADR must complete a Stipulation and Order
to ADR and file it with the Clerk of the Superior Court. The Office of the Clerk is located at:

        Clerk of the Superior Court, Civil Division
        Attention: Case Management Conference Clerk
        Superior Court of California, County of San Mateo
        400 County Center
        Redwood City, CA 94063-1655
There is no filing fee for filing the stipulation. An incomplete stipulation will be returned to the parties by
the Clerk's Office. All stipulations must include the following:

                 O Original signatures for all attorneys (and/or parties in pro per);
                 0 The name of the neutral;
                 0 Date of the ADR session; and
                 U Service List (Counsel need not serve the stipulation on parties).

Parties mutually agree on a neutral and schedule ADR sessions directly with the neutral. If parties would
like a copy of the court's Civil ADR Program Panelist List and information sheets on individual panelists,
they may visit the court's website at www.sanrnateocourt.org/adr.

If Filing the Stipulation Prior to an Initial Case Management Conference
To stipulate to ADR prior to the initial case management conference, parties must file a completed
stipulation at least 10 days before the scheduled case management conference. The clerk will send notice
of a new case management conference date approximately 90 days from the current date to allow time for
the ADR process to be completed.

If Filing Stipulation Following a Case Management Conference
When parties come to an agreement at a case management conference to utilize ADR, they have 21 days
from the date of the case management conference to file a Stipulation and Order to ADR with the court
[Local Rule 2.3(i)(3)].

Post-ADR Session Evaluations
Local Rule 2.3(i)(5) requires submission of post-ADR session evaluations within 10 days of completion
of the ADR process. Evaluations are to be filled out by both attorneys and clients. A copy of the
Evaluation By Attorneys and Client Evaluation are attached to the Civil ADR Program Panelist List or
can be downloaded from the court's web site.

Non-Binding Judicial Arbitration
Names and dates are not needed for stipulations to judicial arbitration. The Judicial Arbitration
Administrator will send a list of names to parties once a stipulation has been submitted.

For further information regarding San Mateo Superior Court's Civil ADR and Judicial Arbitration
Programs, visit the Court's website at www.sanmateocourt.org/adr or contact the ADR offices at
(650) 261-5075 or (650) 261-5076.


Form ADR-CV-1 [Rev. Feb. 2014]
Attorney or Party without Attorney (Name, Address, Telephone, Fax, Court Use Only
State Bar membership number):




SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN MATEO
Hall of Justice and Records
400 County Center
Redwood City, CA 94063-1655 (650) 363-4711
Plaintiff(s):                                                                           Case number:




Defendant(s):                                                                           Current CMC Date:




         STIPULATION AND ORDER TO APPROPRIATE DISPUTE RESOLUTION

Plaintiff will file this stipulation with the Clerk's Office 1,0 days prior to or 3 weeks following the first
Case Management Conference unless directed otherwise by the Court and ADR Director [Local Rule
2.3(i)(3)]. Please attach a Service List.

The parties hereby stipulate that all claims in this action shall be submitted to (select one):
    Voluntary Mediation                                     §Binding Arbitration (private)
    Neutral Evaluation                                         Settlement Conferenceprivate)
    Non-Binding Judicial Arbitration CCP 1141.12               Summary Jury Trial (JOther:

Case Type:

Neutral's name and telephone number:                                          Date of session:
(Required for continuance of CMC except for non-binding judicial arbitration)
Identify by name the parties to attend ADR session:


                                                                                  Original Signatures


T pe or print name of OParty without attorney []Attorney for                                 (Signature)
  Plaintiff/Petitioner DDefendant/Respondent/Contestant                Attorney or Party without attorney



 ype or print name of DParty without attorneyDAttorney for                                   (Signature)
UPlaintiff/Peti tionerD Defendant/Respondent/Contestant                Attorney or Party without attorney



 ype or print name of flParty without attorney []Attorney for                                (Signature)
UPlaintiff/Petitioner DDefendant/RespondentJContestant                 Attorney or Party without attorney



 ypc or print name of UParty without attorney [-]Attorney for                                (Signature)
LPlainti ff/PetitionerflDefendant/RespondentlContestant                Attorney or Party without attorney


IT IS SO ORDERED:

Date:                                                           Judge of the Superior Court of San Mateo County


Form ADR-CV-1 [Rev. Feb. 2014]
  ATrORNEY OR PARTY WITHOUT ATFORNEY (Name, State Bar number, and address):                                            FOR COURT USE ONLY




               TELEPHONE NO.:                              FAX NO. (Optional):
     E-MAIL ADDRESS (Optional):

        ATTORNEY FOR (Name):

     SUPERIOR COURT OF CALIFORNIA, COUNTY OF
      STREET ADDRESS:

      MAILING ADDRESS:

     CITY AND ZIP CODE:

         BRANCH NAME:

        PLAINTIFF/PETITIONER:
 DEFENDANT/RESPONDENT:

                             CASE MANAGEMENT STATEMENT                                                  CASE NUMBER:

 (Check one):              = UNLIMITED CASE  LIII LIMITED CASE
                                    (Amount demanded                    (Amount demanded is $25,000
                                    exceeds $25,000)                    or less)

  A CASE MANAGEMENT CONFERENCE is scheduled as follows:
 Date:                                            Time:                          Dept.:               Div.:                     Room:
 Address of court (if different from the address above):

  LIII Notice of Intent to Appear by Telephone, by (name):
                  INSTRUCTIONS: All applicable boxes must be checked, and the specified information must be provided.
1.     Party or parties (answer one):
                  This statement is submitted by party (name):
                  This statement is submitted Jointly by parties (names):


2.     Complaint and cross-complaint (to be answered by plaintiffs and cross-complainants only)
          The complaint was filed on (date):
          = The cross-complaint, if any, was filed on (date):

3.     Service (to be answered by plaintiffs and cross-complainants only)
       a. LIII All parties named in the complaint and cross-complaint have been served, have appeared, or have been dismissed.
       b.         The following parties named in the complaint or cross-complaint
                       Eli have not been served (specify names and explain why not):
                               = have been served but have not appeared and have not been dismissed (specify names):

                               ElI     have had a default entered against them (specify names):

       c.   El The following additional parties may be added (specify names, nature of involvement in case, and date by which
                       they may be served):


4.     Description of case
       a. Type of case in [J complaint                     LIII cross-complaint           (Describe, including causes of action):



                                                                                                                                               Page 1 otiS
FormAdoptadforMandaloryUse
  Juditilal Council of California
                                                       CASE MANAGEMENT STATEMENT                                                        Cat. RutesotiCourt,
                                                                                                                                         rules 3.720-3.730
  CM-lb (Rev. July 1,20111                                                                                                                    wurts.,gov
                                                                                                                                            CM-lb
                                                                                                         CASE NUMBER:
  -         PLAINTIFF/PETITIONER:
   DEFENDANT/RES PON DENT:
  4. b. Provide a brief statement of the case, including any damages. (If personal injury damages are sought, specify the injury and
         damages claimed, including medical expenses to date [indicate source and amount], estimated future medical expenses, lost
         earnings to date, and estimated future lost earnings. If equitable relief is sought, describe the nature of the relief.)




                (If more space is needed, check this box and attach a page designated as Attachment 4b.)
  5.    Jury or nonjury trial
       The party or parties request       EJ a jury trial EJ a nonjury trial.            (If more than one party, provide the name of each party
       requesting a juiy trial):

 6.    Trial date
                 The trial has been set for (date):
                 No trial date has been set. This case will be ready for trial within 12 months of the date of the filing of the complaint (if
                 not, explain):

             Dates on which parties or attorneys will not be available for trial (specify dates and explain reasons for unavailability):


 7. EstImated length of trial
    The party or parties estimate that the trial will take (check one):
             LJ days (specify number):
             LI hours (short causes) (specify):

 8. Trial representation (to be answered for each party)
     The party or parties will be represented at trial = by the attorney or party listed in the caption = by the following:
          Attorney:
          Firm:
          Address:
          Telephone number:                                               1. Fax number:
          E-mail address:                                                 g. Party represented:
       EJ   Additional representation is described in Attachment 8.
9. Preference
       t::This case is entitled to preference (specify code section):
10. Alternative dispute resolution (ADR)
       a.    ADR information package. Please note that different ADR processes are available in different courts and communities; read
             the ADR information package provided by the court under rule 3.221 for information about the processes available through the
             court and community programs in this case.
               For parties represented by counsel: Counsel = has             ETII has not provided the ADR information package identified
               in rule 3.221 to the client and reviewed ADR options with the client.
               For self-represented parties: Party   L1 has = has not reviewed the ADR information package identified in rule 3.221.
       b. Referral to judicial arbitration or civil action mediation (if available).
                    This matter is subject to mandatory judicial arbitration under Code of Civil Procedure section 1141.11 or to civil action
                    mediation under Code of Civil Procedure section 1775.3 because the amount in controversy does not exceed the
                    statutory limit.

                       Plaintiff elects to refer this case to judicial arbitration and agrees to limit recovery to the amount specified in Code of
                       Civil Procedure section 1141 .11.
                       This case is exempt from judicial arbitration under rule 3.811 of the California Rules of Courtor from civil action
                       mediation under Code of Civil Procedure section 1775 etseq. (specify exemption):


CM110 [Rev. July 1,20111
                                                  CASE MANAGEMENT STATEMENT                                                                Pane 2 of 5
                                                                                                                                    CM-I 10
       PLAINTIFF/PETITIONER:                                                                     CASE NUMBER:


   EFENDANT/RESPONDENT:


 10. c. Indicate the ADR process or processes that the party or parties are willing to participate in, have agreed to participate in, or
         have already participated in (check al/that apply and provide the specified information):


                              The party or parties completing if the party or parties completing this form in the case have agreed to
                              this form are willing to         participate in or have already completed an ADR process or processes,
                              participate in the following ADR indicate the status of the processes (attach a copy of the partiesADR
                              processes (check al/that apply): stipulation):


                                                                         Mediation session not yet scheduled


         Mediation
                                                                 EJ Mediation session scheduled for (date):
                                                                         Agreed to complete mediation by (date):

                                                                      J Mediation completed on (date):

                                                                 c:i Settlement conference not yet scheduled
        Settlement                                                      Settlement conference scheduled for (date):
        conference
                                                                        Agreed to complete settlement conference by (date):

                                                                 EJ Settlement conference completed on (date):

                                                                 EJ Neutral evaluation not yet scheduled
        Neutral evaluation
                                                                 EJ Neutral evaluation scheduled for (date):
                                                                         Agreed to complete neutral evaluation by (date):

                                                                 c:      Neutral evaluation completed on (date):


                                                                         Judicial arbitration not yet scheduled

        Nonbinding judicial                                     EJ Judicial arbitration scheduled for (date):
        arbitration
                                                                EJ Agreed to complete judicial arbitration by (date):
                                                                EI Judicial arbitration completed on (date):

                                                                EJ Private arbitration not yet scheduled
        Binding private                                         EI Private arbitration scheduled for (date):
        arbitration
                                                                EI Agreed to complete private arbitration by (date):
                                                                fJ Private arbitration completed on (date):

                                                                EJ ADR session not yet scheduled
                                                                EJ ADR session scheduled for (date):
        Other (specif,):
                                                                EJ Agreed to complete ADR session by (date):
                                                                 J ADR completed on (date):
CM.110 (Rev. July 1. 20111                                                                                                        Page 3 of 5
                                           CASE MANAGEMENT STATEMENT
                                                                                                                                          CM-lip
                                                                                                     CASE NUMBER:
 -        PLAINTIFF/PETITIONER:

   DEFENDANT/RESPONDENT:

 11. Insurance
         EJ insurance carrier, if any, for party filing this statement (name):
         Reservation of rights: EJ Yes EJ No
     c. = Coverage issues will significantly affect resolution of this case (explain):



 12. Jurisdiction
     Indicate any matters that may affect the court's jurisdiction or processing of this case and describe the status.
       fJ Bankruptcy EJ Other (specify):
    Status:

 13. Related cases, consolidation, and coordination
     a.       There are companion, underlying, or related cases.
                 Name of case:
                 Name of court:
                 Case number:
                 Status:
                  Additional cases are described in Attachment 1 3a.
     b.           A motion to     = consolidate          EJ coordinate           will be filed by (name party):

 14. Bifurcation
          The party or parties intend to file a motion for an order bifurcating, severing, or coordinating the following issues or causes of
          action (specify moving party, type of motion, and reasons):



15. Other motions
             The party or parties expect to file the following motions before trial (specify moving party, type of motion, and issues):



 16. Discovery
             The party or parties have completed all discovery.
             The following discovery will be completed by the date specified (describe all anticipated discovery):
             Party                                    OescriDtion                                                  Date




      C. = The following discovery issues, including issues regarding the discovery of electronically stored information, are
                 anticipated (specify):




CM.11O[Rev.JuIyl,2011J
                                               CASE MANAGEMENT STATEMENT                                                                  Page4of5
                                                                                                                                        CM-lb
         PLAINTIFF/PETITIONER:                                                                       CASE NUMBER:


  DEFENDANT/RESPONDENT:



 17. Economic litigation
                 This is a limited civil case (i.e., the amount demanded is $25,000 or less) and the economic litigation procedures in Code
                 of Civil Procedure sections 90-98 will apply to this case.
                 This is a limited civil case and a motion to withdraw the case from the economic litigation procedures or for additional
                 discovery will be filed (if checked, explain specifically why economic litigation procedures relating to discovery or trial
                 should not apply to this case):




 18. Other issues
      EJ The party or parties request that the following additional matters be considered or determined at the case management
             conference (specify):




 19. Meet and confer
       = The party or parties have met and conferred with all parties on all subjects required by rule 3.724 of the California Rules
            of Court (if not, explain):




           After meeting and conferring as required by rule 3.724 of the California Rules of Court, the parties agree on the following
           (specify):




 20. Total number of pages attached (if any):

 I am completely familiar with this case and will be fully prepared to discuss the status of discovery and alternative dispute resolution,
 as well as other issues raised by this statement, and will possess the authority to enter into stipulations on these issues at the time of
 the case management conference, including the written authority of the party where required.

 Date:




                           (TYPE OR PRINT NAME)                                                 (SIGNATURE OF PARTY OR ATTORNEY)




                           (TYPE OR PRINT NAME)                                                 (SIGNATURE OF PARTY OR ATTORNEY)

                                                                              !JAdditional signatures are attached.




CM.110)Rev.JuIy1.20111
                                                  CASE MANAGEMENT STATEMENT                                                            Page5of5
   SUPERIOR COURT
         OF
     CALIFORNIA
     COUNTY OF
     SAN MATEO




      LOCAL COURT
         RULES
        As Amended
  Effective January 1, 2015
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN MATEO
               Hall of Justice and Records
               400 County Center, 2nd Floor
             Redwood City, California 94063
Superior Court of California, County of San Mateo


RULE NUMBERS 2.23 TO 2.29 ARE RESERVED


                                      CHAPTER 7. COMPLEX CASES

Rule 2.30 Determination of Complex Case Designation.

       Decision of Complex Case to be Made by Presiding Judge

      The Presiding Judge shall decide whether an action is a complex case within the meaning of
California Rules of Court, Rule 3.400, subdivision (a), and whether it should be assigned to a single
judge for all purposes. All status conferences or other hearings regarding whether an action should be
designated as complex and receive a singly assigned judge shall be set in the Presiding Judge's
department.

    Provisional Designation.

         An action is provisionally a complex case if it involves one or more of the following types of
claims: (1) antitrust or trade regulation claims; (2) construction defect claims involving many parties or
structures; (3) securities claims or investment losses involving many parties; (4) environmental or toxic
tort claims involving many parties; (5) claims involving massive torts; (6) claims involving class actions;
or (7) insurance coverage claims arising out of any of the claims listed in subdivisions (1) through (6).

        The Court shall treat a provisionally complex action as a complex case until the Presiding Judge
has the opportunity to decide whether the action meets the definition in California Rules of Court, Rule
3.400, subdivision (a).

      Application to Designate or Counter-Designate an Action as a Complex Case.

      Any party who files either a Civil Case Cover Sheet (pursuant to California Rules of Court, Rule
3.401) or a counter or joinder Civil Case Cover Sheet (pursuant to California Rules of Court, Rule 3.402,
subdivision (b) or (c)), designating an action as a complex case in Items 1, 2 and/or 5, must also file an
accompanying Certificate Re: Complex Case Designation in the form prescribed by the Court. The
certificate must include supporting information showing a reasonable basis for the complex case
designation being sought. Such supporting information may include, without limitation, a brief
description of the following factors as they pertain to the particular action:

                 Management of a large number of separately represented parties;
                 Complexity of anticipated factual and/or legal issues;
                 Numerous pretrial motions that will be time-consuming to resolve;
                 Management of a large number of witnesses or a substantial amount of documentary
                 evidence;
                 Coordination with related actions pending in one or more courts in other counties, states or
                 countries or in a federal court;
                 Whether or not certification of a putative class action will in fact be pursued; and
                 Substantial post-judgment judicial supervision.

     A copy of the Certificate Re: Complex Case Designation must be served on all opposing parties.
Any certificate filed by a plaintiff shall be served along with the initial service of copies of the Civil Case
Cover Sheet (pursuant to California Rules of Court, Rule 3.40 1), summons, and complaint in the action.
Any certificate filed by a defendant shall be served together with the service of copies of the counter or

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joinder Civil Case Cover Sheet (pursuant to California Rules of Court, Rule 3.402, subdivision(b) or (c))
and the initial first appearance pleading(s).

     Noncomplex Counter-Designation.

     If a Civil Case Cover Sheet designating an action as a complex case and the accompanying
Certificate Re: Complex Case Designation has been filed and served and the Court has not previously
declared the action to be a complex case, a defendant may file and serve no later than its first appearance
a counter Civil Case Cover Sheet designating the action as not a complex case. Any defendant who files
such a noncomplex counter-designation must also file and serve an accompanying Certificate Re:
Complex Case Designation in the form prescribed by this Court and setting forth supporting information
showing a reasonable basis for the noncomplex counter-designation being sought.

     Once the Court has declared the action to be a complex case, any party seeking the Presiding Judge's
decision that the action is not a complex case must file a noticed motion pursuant to Section H below.

     Decision by Presiding Judge on Complex Case Designation; Early Status Conference.

     If a Civil Case Cover Sheet designating an action as a complex case and the accompanying
Certificate Re: Complex Case Designation have been filed and served, the Presiding Judge shall decide as
soon as reasonably practicable, with or without a hearing, whether the action is a complex case and
should be assigned to a single judge for all purposes.

     Upon the filing of a Civil Case Cover Sheet designating an action as a complex case and the
accompanying Certificate Re: Complex Case Designation, the Clerk of the Court shall set a status
conference at which the Presiding Judge shall decide whether or not the action is a complex case. This
status conference shall be held no later than (a) 60 days after the filing of a Civil Case Cover Sheet by a
plaintiff (pursuant to California Rules of Court, Rule 3.401) or (b) 30 days after the filing of a counter
Civil Case Cover Sheet by a defendant (pursuant to California Rules of Court, Rule 3.402, subdivision (a)
or (b)), whichever date is earlier.

     Alternatively, in his or her sole discretion, the Presiding Judge may make the decision on complex
case designation and single assignment, without a status conference, based upon the filed Civil Case
Cover Sheet and accompanying Certificate Re: Complex Case Designation alone.


     Notice.
     The party who seeks a complex case designation or a noncomplex counter-designation must give
reasonable notice of the status conference to the opposing party or parties in the action even if they have
not yet made a first appearance in the action. Such notice of the status conference shall be given in the
same manner as is required for ex parte applications pursuant to California Rule of Court, Rule 379.



     Representations to the Court.

       By presenting to the Court a Certificate Re: Complex Case Designation, an attorney or
unrepresented party is certif'ing to the best of that person's knowledge, information, and belief, formed
after reasonable inquiry under the circumstances:

       (1)      That the complex case designation or noncomplex counter-designation is not being presented
                for any improper purpose, such as to harass or to cause unnecessary delay or needless
                increase in the cost of litigation;
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           That the claims, defenses, or other legal contentions referenced therein are warranted by
            existing law or by a non-frivolous argument for the extension, modification, or reversal of
            existing law or the establishment of new law;

               That the statement of supporting information relevant to the complex case designation or
               noncomplex counter-designation have evidentiary support or are believed, in good faith,
               likely to have evidentiary support after a reasonable opportunity for further investigation or
               discovery; and

               That there is a reasonable basis for that party's complex case designation or noncomplex
               counter-designation.

     if, after notice and a reasonable opportunity to be heard, the Court determines that this subpart has
been violated, the Court may impose an appropriate sanction upon the attorneys, law firms, or self-
represented parties that have violated this subpart.

H.  The Presiding Judge's Continuing Power.
    With or without a hearing, the Presiding Judge may decide, on his or her own motion or on a noticed
motion by any party, that a civil action is a complex case or that an action previously declared to be a
complex case is not a complex case.

1.   Pilot Program; Sunset Provision. (Repealed, effective 1/1/2007).

(Adopted, effective July 1, 2004)(Amended, effective July 1, 2005) (Amended, effective January 1,
2006)(Amended, effective January 1, 2007)

RULE NUMBERS 2.31 TO 2.35 ARE RESERVED

CHAPTER 8. ACCESS TO COURT RECORDS

Rule 2.36 Public Access and Privacy

      Please reference. California Rules of Court, Rule 1.20.

      (Adopted, effective January 1, 2008)

Rule 2.37 Public Access.

Exhibits or attachments to a document that are filed or lodged with or otherwise presented to the court,
that are not otherwise marked as confidential or sealed, may be subject to public viewing and access
either at the courthouse or electronically on-line (California Rules of Court, Rule 2.503, et seq.).

      (Adopted, effective January 1, 2008)

Rule 2.38 Electronic Access.

Documents that are part of a court record are reasonably made available to the public electronically under
the Court's Electronic Imaging program as permitted by California Rules of Court, Rules 2.500, et seq.
Documents that are not properly protected by being marked confidential or sealed by court order may be
subject to public access as discussed in Rule 2.38.

        (Adopted, effective January 1, 2008)
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